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                                                  SUPERIOR COURT OF NEW JERSEY
                                                  LAW DIVISION: BERGEN COUNTY
IN RE ALLERGAN BIOCELL
TEXTURED BREAST IMPLANT                           MCL CASE NO. 634
PRODUCTS LIABILITY LITIGATION
                                                  MASTER DOCKET NO. BER-L-5064-20


                                                          CERTIFICATION OF
                                                       MATTHEW R. MENDELSOHN




MATTHEW R. MENDELSOHN, of full age, certifies as follows:

       1.      I am a partner at Mazie Slater Katz & Freeman, LLC (“Mazie Slater”) in Roseland,

New Jersey.     I respectfully submit this certification in support of Plaintiffs’ Motion for

Reconsideration and/or Appeal of Special Master Case Management Order No. 32.                 This

certification is based on my personal knowledge of the facts set forth herein.

       2.      A true and accurate copy of the September 14, 2021 Case Management Conference

transcript is attached as Exhibit “A.”

       3.      A true and accurate copy of relevant portions of the deposition transcript of Roger

Huff is attached as Exhibit “B.”

       4.      A true and accurate copy of relevant portions of the deposition transcript of Victor

Huynh is attached as Exhibit “C.”
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       I declare under penalty of perjury that the foregoing is true and correct. I am aware that if

any of the foregoing statements made by me are willfully false, I am subject to punishment.




Dated: September 18, 2024                     ______________________________________
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                EXHIBIT A
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    1                              -   -   -
    2

    3      IN RE:    ALLERGAN BIOCELL TEXTURED        :
    4      BREAST IMPLANT PRODUCTS LIABILITY          :      MCL No. 634
    5      LITIGATION                                 :
    6

    7

    8                              -   -   -
    9                   CASE MANAGEMENT CONFERENCE
   10                              -   -   -
   11

   12    DATE:             SEPTEMBER 14, 2021
   13    BEFORE:           THE HONORABLE JOSEPH A. DICKSON, USMJ
   14                      THE HONORABLE RACHELLE L. HARZ, JSC
   15

   16            (ALL PARTICIPANTS APPEARING REMOTELY)
   17

   18

   19

   20

   21

                                   -   -   -
   22

              CONSTANCE E. PERKS, CRR, CCR, CLR, CRC, RSA
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    7    ALSO PRESENT:
    8    Alex Glassman, Trial Court Law Clerk
         Brittany Manna, Judicial Law Clerk
    9
         Jenny Chung, Legal Assistant to Judge Dickson
   10
   11    (Participating via telephone #8080, #4251)
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    1                      (Proceedings commenced at 11:09 a.m.)

    2                      JUDGE HARZ:     Okay.   Judge Dickson, do

    3    you want to start off?

    4                      JUDGE DICKSON:     That's fine with me.

    5    Let's go there.     So who goes first, Mr. Kelly or

    6    Mr. Cohen?

    7                      MR. KELLY:     I'm happy to tee up the

    8    issue.

    9                      Essentially, there are a large number

   10    of ESI data sources at issue in this case.            We have

   11    narrowed the upcoming ESI 30(b)(6) deposition to

   12    five of those at this point.        One is TrackWise.        We

   13    got a user manual for TrackWise at the end of last

   14    month.    We have repeatedly requested user manuals

   15    and other secondary materials as they relate to

   16    relevant repositories of ESI for years now,

   17    including the most recent conference and most recent

   18    letter.    We haven't received those for any of the

   19    other four sources.      It is our understanding that

   20    defendants were going to provide those.

   21                      That's essentially where we are.

   22                      JUDGE DICKSON:     Mr. Cohen.

   23                      Mr. Kelly, if I can interrupt you.

   24    I'm sorry.    I apologize.

   25                      Mr. Cohen, based on what I read in



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    1    the letter and what I think Judge Harz read, too,

    2    and I know that she has some thoughts about this, it

    3    looks like those manuals and user programs and all

    4    that, that you have talked about turning them over,

    5    but you just haven't done it yet.         And there's an

    6    indication that maybe some don't exist, which is --

    7    I would like you to explain that.         If they don't

    8    exist, why could -- how do your people work with

    9    that software without any kind of user manual?

   10                      MR. COHEN:     Right.   So we have asked

   11    about user manuals and other materials for all five

   12    of those data sources.       The one that we have a user

   13    manual for is the CPR database, essentially the

   14    complaints database, and we've turned that over.

   15                      The plaintiffs have asked us for user

   16    manuals and database schema or folder structures for

   17    the Skype box, voicemail, and SharePoint, as you

   18    know, and we don't have those.         We've checked with a

   19    couple of people.      First of all, the technical

   20    people didn't even understand what they were talking

   21    about in terms of database schema and folder

   22    structures.    That wouldn't apply to a couple of

   23    these document types.

   24                      But users, like there was about like

   25    28 databases all together, and most of them don't



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    1    have user manuals.       Users that use them are trained

    2    on how to use them.       And so it's not that we're

    3    holding back on user materials that we have for

    4    those databases.       The users know how to use them,

    5    and certainly at the 30(b)(6) deposition, the

    6    plaintiffs can ask any questions they have about how

    7    to use those different systems.

    8                        JUDGE DICKSON:       All right.    So why

    9    don't you have your deponents, prior to the

   10    deposition, sign some kind of declaration about

   11    specifically what does not exist.

   12                        MR. COHEN:       Sure, we can do that.

   13                        MR. KELLY:       That would be enough for

   14    plaintiffs.    And at this point, we would like

   15    whatever secondary information that could help make

   16    that deposition more efficient.            We have not yet

   17    heard before just now that these documents didn't

   18    exist.   So, if they don't, again, something in

   19    writing with a signature on it would be helpful in

   20    advance of the deposition enough that we can cure

   21    any issues before the deposition.

   22                        MS. KWUON:       I would just add a

   23    footnote to that piece.        In the inquiry about

   24    whether those documents exist, people have looked in

   25    the appropriate places for them.            There is always



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    1    the possibility, so it's hard to say, you know, when

    2    you talk about [indiscernible word] wide, there's

    3    always the possibility that somebody has a copy of

    4    something, you know, squirreled away in an email

    5    attachment or on a drive somewhere.           But based on

    6    the reasonable inquiry and research we have done,

    7    those documents don't exist.

    8                        And as to the schema, I think that

    9    Max and I talked about this a little bit, it's a

   10    document that the company doesn't have.              We would

   11    have to go to Sparta, which is the third party that

   12    actually provides the generic tool, and then it's

   13    customized as it relates to the way the company uses

   14    it.   So it's something, again, that the company

   15    doesn't have.

   16                        And I think to answer a little bit

   17    some of the questions, as to some -- some of the

   18    databases are also retired, so it's another reason

   19    why something like what might be called a user's

   20    manual doesn't appear to exist.

   21                        JUDGE DICKSON:     Well, the whole point

   22    is that the plaintiffs are entitled to know how this

   23    data is used, stored, manipulated, changed,

   24    whatever, archived, pulled out of archives.              I don't

   25    mean to tell you that you -- I know you know that.



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    1                        But rather than having a multiday

    2    deposition, let's make sure within -- it's scheduled

    3    for the 28th, correct?

    4                        MR. KELLY:       Correct.

    5                        JUDGE DICKSON:       So I would say that

    6    everything you need to get, including a declaration

    7    of what you cannot find or what, apparently, does

    8    not exist based on a reasonable search and maybe

    9    give a little bit of that to Mr. Kelly so he doesn't

   10    have to spend an hour asking how have you searched,

   11    because those are very time-consuming and annoying

   12    questions in a deposition.

   13                        I agree, it's discovery on discovery,

   14    and I get it, but this has got to move.              This has

   15    got to move, and it's time for them to have all of

   16    that information, because I really want to get to

   17    the substantive discovery in this case.

   18                        JUDGE HARZ:       Can I ask a silly

   19    question?    At this deposition on September 28th, the

   20    individual who is being deposed, is that individual

   21    going to have multiple screens in front of him, so

   22    that if he is asked a question about box or

   23    voicemail, he would be able to show during the

   24    deposition what to access or where that information

   25    would be, or are you doing this in a vacuum without



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    1    any computer or computer access?

    2                        MR. COHEN:       So there are two

    3    different deponents.       One deponent is speaking to

    4    SharePoint, Skype box, and voicemail, and the other

    5    is speaking to CPR TrackWise.

    6                        The thing to remember about these

    7    systems is this really is very collateral to any of

    8    the merits about this case.            These systems are not

    9    set up just for complaints, other than the CPR

   10    TrackWise system.       So to the extent that -- and

   11    we've questioned whether it's appropriate to have

   12    any discovery at this stage since it is, as cases

   13    point out, it's a discovery about discovery.              There

   14    have been no issues yet.         These are just among the

   15    28 databases that we said we were going to search

   16    for responsive information.

   17                        So our view has been that this is all

   18    quite premature discovery.            However, we have put up

   19    these witnesses and the thought is that they will

   20    provide whatever background information they are

   21    asked about.    If that leads to questions, it could

   22    yield some sources of data that we're not searching

   23    for, we can start to reach out.            But we are not in a

   24    stage where anybody has said, Oh, we're having

   25    trouble pulling out data or searching for data.



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    1    None of that has happened.            There's no reason for --

    2                        JUDGE HARZ:       Can I just ask you a

    3    question?    You said that Skype box, voicemail, and

    4    SharePoint weren't set up for complaints.             TrackWise

    5    was?

    6                        MR. COHEN:       That is the basic

    7    complaint system.

    8                        JUDGE HARZ:       Okay.   So then the

    9    question is going to be, in Skype box, voicemail,

   10    and SharePoint, how does one access where complaints

   11    would be stored?       Okay.   So my question is, the

   12    person who is answering this is responding to, at

   13    this deposition, to that specific question about

   14    where are complaints stored in these four systems.

   15                        Is that person going to have access,

   16    right then and there, with screens to show, you

   17    know, at the deposition, how it is accessed?

   18    Because how do you describe that?             You need to show

   19    that.

   20                        MR. COHEN:       Right.   So we have not

   21    gotten to the point yet where we know even that

   22    there are complaints stored in any of these systems.

   23    So what we have been focusing on is the -- first,

   24    the data sources most likely to have relevant

   25    discoverable information.            So our initial focus has



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    1    been on CPR TrackWise system and restoring the

    2    email, and we have identified 38 custodians that

    3    have email, and we've gotten from the plaintiff

    4    their preferences as to what order we treat those

    5    custodians in, and we're he basically following

    6    their request.

    7                        There are going to be hundreds of

    8    thousands, probably millions of documents in that

    9    email which are responsive.            That's where we are

   10    starting to focus.

   11                        JUDGE HARZ:       Okay.   Okay.

   12                        MR. COHEN:       We looked at these other

   13    database sources as things that we are going to look

   14    into as to whether there's other discoverable

   15    information.    That's a process and that's going to

   16    go on.   That's one of the reasons why we're saying

   17    this discovery about discovery is premature.               We're

   18    not at a point where we found, Oh, there's a lot of

   19    stuff in Skype that's relevant to the case.

   20                        JUDGE HARZ:       When was TrackWise put

   21    into effect?    I just forget right now.

   22                        MR. COHEN:       Janet, if you can help me

   23    out there.    I don't remember the exact date.             I

   24    think it's in our disclosure.

   25                        JUDGE HARZ:       Okay.   Whenever that is.



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    1    So that's when complaints are all placed in

    2    TrackWise, one nice, neat place.             So the complaints

    3    prior to that, you're saying, perhaps are not in

    4    these four, you know, Skype box, voicemail,

    5    SharePoint, but, rather, it would be in some

    6    custodian's email somewhere.            Is that what you're

    7    saying?

    8                        MR. COHEN:       Yes.   We have not gotten

    9    to the point where we have fully investigated all 28

   10    databases to know where everything is.               The

   11    information that we have gained about the databases

   12    we have made available to the plaintiffs in the five

   13    different disclosures that we've done in writing so

   14    far.   Those investigations of the data sources

   15    outside of email are continuing.

   16                        And so we -- discovery is going to go

   17    on for a while and we're going to be continuing to

   18    look for anything that is responsive for this case,

   19    and we will be continuing to meet and confer with

   20    plaintiffs and informing them of what we find.                But

   21    I can't -- I don't know the answer right now,

   22    sitting here, unless Janet or Melissa does, as to

   23    whether we know of existing complaints prior to the

   24    CPR TrackWise system where -- whether those are in

   25    any one particular system outside of email.



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    1                        Janet, do you know anything or have

    2    any idea on that?

    3                        MS. KWUON:       Sure.    The TrackWise is

    4    managing all known complaints at this time, and for

    5    any predecessor systems, they are transferred or

    6    migrated into TrackWise.

    7                        JUDGE DICKSON:       That was my question.

    8                        MS. KWUON:       Yeah.    So it's the body

    9    of where everything sits now.            There are older

   10    versions of things in the past.              So the witness is

   11    going to talk about TrackWise, which is what he is

   12    most familiar with.       He has been living in that

   13    space for about a decade.            And then the predecessor

   14    systems, as well, to the extent that there's

   15    information and he knows information about them.

   16                        MR. KELLY:       Your Honor, just to --

   17    I'm sorry.    Just to clarify the potentially

   18    discoverable information within the Skype, voicemail

   19    box, SharePoint system, isn't -- it isn't limited to

   20    complaints specifically, and it is the plaintiffs'

   21    understanding that all the complaints have been

   22    migrated into TrackWise from the predecessor

   23    systems.

   24                        JUDGE HARZ:       Thank you.

   25                        JUDGE DICKSON:       So then is there any



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    1    decision right now that Judge Harz and I are called

    2    upon to make?       It sounds like you're going to get a

    3    declaration or somethings under oath, signed,

    4    regarding what you cannot find or what does not

    5    exist, whatever the most appropriate way to say that

    6    is, the most truthful way to say that.               I know you

    7    will do that.       And then you will have it in time so

    8    the deposition can go forward of the two deponents

    9    on September 28th.       Correct?

   10                        MR. COHEN:       Yes.   And just to be

   11    clear about that, we don't have user manuals for

   12    the -- we haven't found user manuals for the

   13    systems, other than CPR TrackWise.             Some of them,

   14    those other questions are not applicable, like

   15    database schema, folder structures.             One or two

   16    systems do have folder structures, but there are

   17    reasons that they would not be helpful in locating

   18    the documents.       Would not be -- you know, nothing

   19    that we could find and turn over in any easy manner.

   20                        That can all be explained in --

   21                        JUDGE HARZ:       Would you be able to put

   22    in writing to Mr. Kelly, he's asking for something

   23    in writing, signed, that there are no XY&Z

   24    pertaining to Skype box, voicemail, and SharePoint?

   25    He wants that in writing and signed.             When could you



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    1    get that to him?

    2                        MR. COHEN:       Subject to what Janet

    3    said, based on our reasonable investigation, talking

    4    with people who know the most about these systems,

    5    what they know, find out, checking.            So, yes, we

    6    would be able to do that.            And that deposition is

    7    scheduled for the 28th, and I would think that

    8    certainly within a few days prior to the deposition

    9    we would be able to get that to the plaintiffs.

   10                        JUDGE HARZ:       Why don't we say by the

   11    22nd, September 22nd.

   12                        MR. COHEN:       Yes.

   13                        MR. KELLY:       Thank you, Your Honor.

   14                        JUDGE DICKSON:       All right.    So then

   15    can we move to the organizational information?

   16                        MR. COHEN:       Excuse me.   I want to

   17    thank you.    I'm the one with the conflict, so if I

   18    might have your permission to excuse myself for the

   19    rest of the conference.        And thank you for

   20    accommodating my schedule today.

   21                        JUDGE DICKSON:       I note that it's

   22    11:22.   If you could stay until 11:30 -- no, I'm

   23    kidding.

   24                        JUDGE HARZ:       Good luck, Mr. Cohen,

   25    wherever you are going.



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    1                        MR. COHEN:       Thank you very much.     I

    2    appreciate.    Take care.

    3                        MR. KELLY:       Your Honor, if we wanted

    4    to frontload the ESI conflicts, there is the

    5    exemplar issues intertwined with that, although I'm

    6    happy to defer that until later in the call.

    7                        JUDGE HARZ:       The exemplar issue is on

    8    page 6 of the September 9, 2021 letter.              Basically,

    9    I think what we're dealing with now is plaintiffs

   10    are saying they have three -- okay.             Allergan is

   11    producing exemplar adverse event reports.              There are

   12    three issues that plaintiffs wish to follow up on,

   13    and defendants have not responded to those inquiries

   14    to date.   I think that's --

   15                        MR. KELLY:       Yes.   So the request is

   16    for additional, you know, either fulsome answers to

   17    those questions or additional exemplars that sort of

   18    contain or point to or illuminate the answers to

   19    those questions.

   20                        JUDGE DICKSON:       Was that Mr. Cohen

   21    that was just let go who should answer that, or can

   22    Ms. Kwuon answer that?

   23                        MS. KWUON:       I think I can answer some

   24    of these questions.

   25                        So with regard to attachments to the



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    1    three exemplars that we provided, we are confirming

    2    it was when we made the request that it was the full

    3    PDF along with all the attachments.           Somebody is

    4    going back to just double check and make sure that

    5    that was what was produced.          I believe that's the

    6    case.   It looks like it.       We don't seem to be

    7    missing anything, but we're confirming that.

    8                        As to whether or not there are

    9    additional product complaint reports that can be

   10    provided over the entire sequence of time, as we've

   11    explained and I confirmed earlier, everything is

   12    being managed through the current system and we

   13    already kind of have moved to a discussion and

   14    agreement with regard to extraction of fields of

   15    information from that to include all the complaints

   16    that we believe are relevant, which are the

   17    confirmed and suspected ALCL-related cases.

   18                        And so the additional requests are --

   19    you know, these additional add-ons that require us

   20    to kind of stop and respond to things that are

   21    taking away from what we're trying to do, to get the

   22    full body of data out to plaintiffs as soon as

   23    possibility.    So the sort of the lingering ask of,

   24    you know, can you give us one that's representative

   25    of XY and Z, or, you know -- this year, at some



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    1    point, I think there was even a discussion about one

    2    per year, or something like that.

    3                        It's difficult for us to keep kind of

    4    down that path as we're trying to prioritize getting

    5    the electronic extraction, which I think will be all

    6    of the answers, I hope, most of the answers to all

    7    the questions that are at issue.

    8                        MR. KELLY:       Your Honor, so if I can

    9    respond to that.

   10                        JUDGE DICKSON:         Go ahead.

   11                        MR. KELLY:       The first issue is that

   12    it sounds like we still don't have confirmation that

   13    the exemplars that were produced are the full files.

   14    We still don't have confirmation on that.

   15                        Is that correct, Janet?

   16                        MS. KWUON:       No.    I would say that

   17    when we went back and looked, it appears to be.

   18    I've asked someone to check again.              I don't know

   19    whether counsel is thinking something is missing.

   20    But, you know, when I come back and write to you and

   21    say it absolutely is triple checked, that's what I

   22    just want to make sure we're doing.              We checked.     It

   23    appears to be what it's supposed to be.                But I want

   24    to get a triple check before I send that back to you

   25    in writing.



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    1                        JUDGE HARZ:       Is this in TrackWise?

    2                        MR. KELLY:       Yes.

    3                        JUDGE HARZ:       The exemplar adverse

    4    event reports?

    5                        MS. KWUON:       Yes.

    6                        JUDGE HARZ:       Is this something at the

    7    deposition that can be delved into at that time?

    8    Will that individual be able to say, Okay, here is

    9    this adverse event report, it's in TrackWise, and

   10    all the documents having to do with the adverse

   11    event report are here or not here, or elsewhere?

   12    Will this person know that?

   13                        MS. KWUON:       He's coming from the IT

   14    side of the program, so similar to what we might

   15    think of if we call an IT person to help with

   16    emails.   He can answer questions regarding the

   17    technology side of it.        The crossover into actual

   18    content, there may be some parts he can answer from

   19    an IT perspective, but it's different also from a

   20    business user who is, you know, actually using the

   21    communications.

   22                        JUDGE HARZ:       Who would know that?

   23                        MS. KWUON:       We're in the middle.     So

   24    what we're doing is we're actually talking to the

   25    business people who track -- who work on the



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    1    documents, attach the attachments, kind of click on

    2    everything that looks like there should be an

    3    attachment to confirm that there is an attachment

    4    and then to compare that to what was delivered to us

    5    as the attachment.

    6                        JUDGE HARZ:       I'm just wondering is

    7    there someone else who should be deposed who can say

    8    whether or not the exemplar adverse event report is

    9    everything, or where other information about that

   10    adverse event report is in your system.              That's what

   11    I'm trying to figure out.

   12                        MS. KWUON:       So if we're able to

   13    confirm -- one is my confirmation is that it is

   14    complete.    I'm asking someone to triple check it.

   15    After we triple check it, I believe that that should

   16    be, you know, as far as we can tell, you know, no

   17    indication that there's something missing.

   18                        I haven't heard from counsel that

   19    they see anything to suggest that something is

   20    missing, or that there's a reference to a document

   21    that actually wasn't provided as an attachment.               So

   22    what I would like to do --

   23                        JUDGE DICKSON:       Let's -- let's hear

   24    from Mr. Kelly on -- I want to hear from Mr. Kelly

   25    on that.



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    1                        MS. KWUON:       Sure.

    2                        MR. KELLY:       So to be clear, I think

    3    that Ms. Kwuon is responding to our first bullet

    4    point there, which is confirming these are the

    5    complete files.       Our reading of what you sent over

    6    had suggested that maybe there was an external

    7    investigation report or an explanation of why an

    8    investigation was not conducted, because we did not

    9    see a writing like that or recognized something like

   10    that within the exemplar that you provided, and it's

   11    my understanding those are required.

   12                        So that was the confusion in terms of

   13    that specific first bullet, the completeness issue.

   14    And it might just be an disagreement about -- I

   15    mean, I wouldn't be shocked if plaintiffs and

   16    defendants disagree on what an adequate

   17    investigation or explanation is.

   18                        The second bullet relates to the

   19    source files issue.       I know that early on, you know,

   20    defendants had claimed that because there were these

   21    linked source files that impacted the formats in

   22    which TrackWise data could be produced.              Did the

   23    exemplars that you guys produced, did those have

   24    linked source files?       Like, are these exemplars that

   25    would be impacted by that issue?



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    1                        JUDGE DICKSON:       This is the question

    2    I had, Mr. Kelly.       You asked that question.         Did you

    3    see something in the exemplars that you examined

    4    that indicated that maybe there were links, or the

    5    links were taken out?

    6                        MR. KELLY:       There were attachments at

    7    the end of the exemplars.            But there was -- but I

    8    guess within exemplars.        The form would end, and

    9    there would be a cover sheet and a new document

   10    within the same PDF.       The question is, are those the

   11    source files that defendants are talking about, or

   12    have we not yet encountered an example on an

   13    exemplar that has that problem with it?

   14                        JUDGE DICKSON:       That's a more

   15    specific question.       Ms. Kwuon, may I please, and I'm

   16    sorry to overly direct, but answer that question, if

   17    you can, Ms. Kwuon.

   18                        MS. KWUON:       It is my understanding

   19    that the attachments are the source files that were

   20    completely pulled.       So there's the product complaint

   21    report and then there are all the associated

   22    attachments in the PDFs and all of those were

   23    completely pulled and provided to counsel.

   24                        JUDGE DICKSON:       Okay.   So the --

   25                        MR. KELLY:       The first and second



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    1    bullets then.       That is very helpful.         The issue then

    2    is the third bullet, which I think is actually

    3    something that if we handle it at the deposition, it

    4    would be too late to handle, or it will require more

    5    questions afterwards.

    6                        Essentially, the issue is that, as we

    7    discussed, complaints that were entered into past

    8    complaint management systems have been migrated into

    9    TrackWise.

   10                        JUDGE DICKSON:       Right.

   11                        MR. KELLY:       Those predecessor systems

   12    were not identical to TrackWise, or they would be

   13    called TrackWise.       So the question is:          To what

   14    extent, if any, do the data fields, the inputs and

   15    outputs, or even just the operating procedures for

   16    how you -- you know, what level of detail you put

   17    into which field, when, whether it's a dropdown

   18    things like that, these data fields presumably

   19    changed over time at least to some extent.

   20                        Right now, all of the exemplars we

   21    have are from the last six months.            They were

   22    entered into the current version of TrackWise.                 So

   23    the question is -- we know now what it looks like if

   24    you try to extract a complaint that was initially

   25    entered into the current version of TrackWise.                 What



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    1    we don't know is what it looks like if you try to

    2    pull out data that was entered into EasyTrack

    3    [spelling unconfirmed] or into Manman, later

    4    migrated over into TrackWise, like do those reports

    5    come out in exactly the same format, with the same

    6    fields, or are some of the -- we're just -- I'm

    7    familiar with database migration like this ending

    8    with fields getting switched, moved, or eliminated,

    9    or added.    And that's information we need, because

   10    it's not the case that the only relevant complaints

   11    in this action were added into TrackWise.             They were

   12    relevant complaints in predecessor systems that have

   13    migrated into TrackWise.

   14                        JUDGE DICKSON:       I understand that.

   15                        Ms. Kwuon, can you answer that

   16    question?

   17                        MS. KWUON:       Those are the questions

   18    that the witness is going to be able answer at

   19    deposition.    I think that counsel sort of set the

   20    schedule about when they wanted the depositions

   21    taken.   These are being taken sort of first at bat

   22    in the litigation.       There are probably, you know,

   23    more things, for example, that we haven't produced.

   24    That database with the actual fields yet.             That is

   25    in progress.    That is going to happen after the



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    1    deposition of the witness later this month.

    2                        And so for us, with regard to, you

    3    know, what we are providing to the other side, it

    4    makes sense to us that the production has been as

    5    complete as it can be to date right now.             I know

    6    Mr. Cohen is going to provide additional information

    7    about some of the SOPs, and the witness is going to

    8    be able to answer these questions at his deposition.

    9                        JUDGE DICKSON:       My only concern --

   10                        MR. KELLY:       Oh, I'm sorry, Your

   11    Honor.

   12                        JUDGE DICKSON:       Go ahead, go ahead.

   13    And then I'll tell you what my only concern is.               Go

   14    ahead.

   15                        MR. KELLY:       My concern is just that

   16    this is sort of an inherently written visual thing,

   17    and it seems unlikely to me that if we asked any

   18    deponent, even if they're extremely familiar with a

   19    predecessor ESI storage system platform, that they

   20    would be able to rattle off every single data field

   21    off the top of their head and identify which have

   22    changed between the system they're remembering and

   23    TrackWise.

   24                        I think that a much easier way to

   25    frame that conversation would be with a document



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    1    that shows what the report looks like, and say, did

    2    this field exist, does that field exist, how are

    3    they different across the two systems.

    4                        JUDGE DICKSON:       Well, you have that

    5    first document.       What you don't have is an exemplar

    6    from pre-TrackWise --

    7                        MR. KELLY:       Exactly.

    8                        JUDGE DICKSON:       -- or an exemplar of

    9    TrackWise that has data that had to be migrated

   10    over.

   11                        MR. KELLY:       Exactly.

   12                        JUDGE DICKSON:       That's what you need.

   13    Well, that should be easy enough, I would think.

   14    That's number one.       I also agree with Judge Harz, it

   15    seems to me it's very important to have someone,

   16    whoever the deponent is, to have a computer in front

   17    of them if they need to show you at the deposition

   18    what the difference in the fields are.               Because I

   19    get your question, I understand, and I think it's

   20    correct.   Now, I don't think this should be very

   21    hard.

   22                        Ms. Kwuon, can't we get them an

   23    exemplar that has migrated information in it?

   24                        MS. KWUON:       So let me go back and see

   25    what we can pull with regard to a pre-TrackWise



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    1    product and complaint, and I will report back to the

    2    Court.   So let me look into that.

    3                        JUDGE DICKSON:      I don't know if you

    4    have to report back to us.           If you can just put that

    5    into -- whatever it is.        I mean, it's a fair

    6    question because -- now I'll express what my concern

    7    is.

    8                        My concern is that we go through this

    9    exercise, and then you produce thousands if not

   10    millions of documents, and then as they read them

   11    and they start to get ready to depose the custodians

   12    or the -- or not even the custodians, but the fact

   13    witnesses from Allergan, it turns out that there was

   14    information that no one was able to track down

   15    because we didn't fix this first.

   16                        So I'm saying this for a reason,

   17    because I am sympathetic to the discovery on

   18    discovery issue, but this seems to be something we

   19    need to nail down before we start massive amounts of

   20    substantive discovery, so that we don't have to stop

   21    that and go back and do some things again.

   22                        And I think with these simple

   23    questions -- to me they are simple.           The answers may

   24    not be simple, but I think the questions are

   25    simple -- we may be able to avoid that stop and go.



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    1    I mean, old war stories sometimes help.              This is a

    2    very short one.

    3                        Patent case.       We were at the end, and

    4    then they started to fight.            And I found out -- it

    5    was a case that I took over, so it's not my problem,

    6    but I found out that they never sat down and defined

    7    the search terms and custodians before they produced

    8    massive amounts of information.

    9                        If we can just -- this is akin to

   10    that in my view.       If we can make sure we know what

   11    we're producing and how we can review it, then we

   12    won't have a problem later.

   13                        MR. KELLY:       I know in the joint

   14    update letter, defendants had complained there were

   15    not MDR numbers provided.            We have since sent over,

   16    I think it was late last week, a list of MDR

   17    exemplars that we could use if there was an issue

   18    with selection there.        So we've provided those.

   19                        JUDGE DICKSON:       Okay.

   20                        Judge Harz, did you have anything

   21    else on that?

   22                        JUDGE HARZ:       I see what you're

   23    saying.   Plaintiffs have not yet provided the

   24    additional medical device reporting information they

   25    indicated they would, so that is all done.



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    1                        MR. KELLY:       Yes, by letter.

    2                        JUDGE HARZ:       I have a question mark.

    3    So I can delete that.

    4                        Okay.   So just in terms of an order

    5    that comes out of today's conference, with regard to

    6    turning over an exemplar of an adverse event report

    7    pre-TrackWise, when can we do that?

    8                        MS. KWUON:       How about the same

    9    date of the -- was it the 22nd that we set?

   10                        JUDGE HARZ:       Okay.   Right.    That is

   11    the recertification.        Okay.      September 22nd, it's

   12    going to be a pre-TrackWise -- how should I phrase

   13    that?   How should we phrase it?

   14                        MR. KELLY:       Your Honor, there were

   15    actually multiple predecessor systems.

   16                        JUDGE HARZ:       I know.

   17                        MR. KELLY:       So I was going to say

   18    EasyTrack and Manman.

   19                        JUDGE HARZ:       Okay.   I need the

   20    wording.    I need the wording, Mr. Kelly.             So by

   21    September 22nd...

   22                        MR. KELLY:       Exemplar complaint files

   23    from the Manman and Easytrak systems, and

   24    corresponding to the MDR numbers plaintiffs

   25    provided.



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    1                        JUDGE HARZ:       And EasyTrack System --

    2    Manman is M-A-N-M-A-N?

    3                        MR. KELLY:       Yes.

    4                        JUDGE HARZ:       And EasyTrack System

    5    corresponding...

    6                        MR. KELLY:       And corresponding to the

    7    MDR numbers plaintiffs provided.

    8                        MS. KWUON:       For clarification on

    9    that, Your Honor, I think we can pull, you know, one

   10    exemplar from each of the time periods, and use that

   11    MDR number, select one from the provided the MDR

   12    number.

   13                        JUDGE HARZ:       Is that agreeable to

   14    you, Mr. Kelly?

   15                        MR. KELLY:       In full disclosure, I

   16    wasn't the person who selected those MDR numbers.                I

   17    know those were the MDR numbers you were interested

   18    in.   I don't know what the additional burden is of

   19    producing those other exemplars.            But we would want

   20    all of those, is my understanding from people who

   21    prepared those numbers.        But I mean, if that is not

   22    feasible or --

   23                        JUDGE DICKSON:       How many MDR numbers

   24    were provided?

   25                        MR. KELLY:       I think it was ten, but



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    1    let me double check that.

    2                        MR. VESPERMANN:         This is Wyatt

    3    Vespermann with Panish.        It was 13 total.

    4                        MR. KELLY:       Thank you, Wyatt.

    5                        Wyatt is our MDR number selector.

    6                        MS. KWUON:       To be able to do a

    7    compare, it seems to me that one exemplar from each

    8    of the systems enables counsel to compare.              Again,

    9    every additional thing is an additional thing.               So I

   10    think we can provide one exemplar for that MDR pool

   11    from the various time periods.

   12                        JUDGE HARZ:       But aren't you just

   13    pressing a button to print out 13?

   14                        MS. KWUON:       No.    You know, just as we

   15    -- I think when we started at the very beginning,

   16    when we were going to make a production of product

   17    complaint files and each of the attachments, there

   18    isn't a single button.        It requires, you know,

   19    finding the particular MDR and then going and

   20    connecting to all of the different attachments, and

   21    then pulling each attachment and converting it into

   22    a PDF so that it can be provided.

   23                        It's unfortunately not as easy as

   24    just pushing ten buttons as opposed to just one.

   25                        JUDGE DICKSON:         Well, let's do this.



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    1    Let's do three.       Let's do three.        And Plaintiff, you

    2    identify the three you want her to do.

    3                        MR. VESPERMANN:      Your Honor, if I

    4    could just chime in.       This is Wyatt again with

    5    Panish Shea & Boyle.

    6                        It's not just the migration from the

    7    old database.       There's certain adverse events, and

    8    the way that Allergan has handled them differs, for

    9    example, from the exemplars they provided.             So if a

   10    device is returned to Allergan, they will do a

   11    failure analysis, and so we want an exemplar that

   12    shows what does the failure analysis complaint look

   13    like, or if there was someone who was in one of

   14    their clinical studies that developed ALCL, and

   15    there's a couple examples of those, we want to see

   16    how that complaint handling works.

   17                        So it's not just the migration issue;

   18    it does go a little bit further than that in that

   19    not every complaint is the same.             And so that's why

   20    there were 13.       It's not just migration from the old

   21    system, but different, unique factual scenarios.

   22                        JUDGE HARZ:      Okay.    I get it.

   23                        JUDGE DICKSON:      It sounds more like a

   24    substantive question than ECI, electronic data

   25    question.



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    1                        MS. GEIST:       Your Honor, can I just

    2    chime in on that, too, because I have been sitting

    3    quietly.

    4                        From our perspective, and we will

    5    comply with what Your Honor orders today, from our

    6    perspective, it is more of a substantive issue

    7    because I think plaintiffs would have in front of

    8    them the different iterations of the adverse event

    9    reports, right, that come from TrackWise, and before

   10    that Easytrak, and before that Manman.               And

   11    presumably, at a substantive deposition of a safety

   12    person, somebody who can speak to how the company

   13    records complaints as they come in, and that person

   14    would answer questions about how things may have

   15    changed over the various time periods.

   16                        So -- and again, all of the ALCL

   17    complaints and suspected ALCL complaints are going

   18    to be provided, all of them, for the entire time

   19    period we have been discussing.            So plaintiffs will

   20    have all of that and then they can put the documents

   21    in front of them and say, okay, clearly here there's

   22    a change in how the company was reporting complaint

   23    information as it comes in, if that is the case.

   24                        So I understand.       You know, again, we

   25    will comply with whatever Your Honor orders, but to



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    1    me this goes more to substance, and I assume

    2    plaintiffs will have some questions about why

    3    certain information was reported at various times,

    4    or not.   I'm just making it up for purposes of this

    5    argument.

    6                        But it's more of a substantive issue.

    7    Was there a change over time in the recording of the

    8    complaints; and if so, why, and to what extent.               And

    9    that goes to substance.

   10                        MR. VESPERMANN:     I would push back on

   11    that a little bit, Your Honor, because I think it is

   12    a blurred line.       There is some ESI component to this

   13    because it's how are all these documents linked

   14    together, how does the failure analysis link to a

   15    CAPA?

   16                        And so this is how their data is

   17    managed, is that one particular event coming in to

   18    them from a complaint-handling perspective goes down

   19    the line and to eventually, potentially, impacting

   20    the manufacturing specs.

   21                        And so how those things link together

   22    is a huge question mark right now.           And it's not

   23    necessarily substantive.        It's kind of a hybrid.

   24    There's an ESI component to how these different

   25    systems link together.



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    1                        JUDGE DICKSON:       Okay.   I think if we

    2    answer all the questions you want, we're going to be

    3    definitely jumping into the substantive pool.

    4                        JUDGE HARZ:       Well, maybe allow for

    5    six and let the plaintiffs pick the six they want,

    6    instead of three, so you get a broader --

    7                        MR. VESPERMANN:       I'll take it, I'll

    8    take it.

    9                        JUDGE HARZ:       I don't know how much is

   10    in -- you know, Judge Dickson and I are at a

   11    disadvantage.       Ms. Kwuon says it's a big deal, the

   12    plaintiffs are saying it's not such a big deal.

   13                        Pick the six.       You're saying that you

   14    don't know what the different complaint files look

   15    like, depending upon the type of complaint.              Pick

   16    the six you want, and then for the remaining eight

   17    or seven, you know, if you show us a need, hey,

   18    look, look at this, this is why we need the other

   19    seven, we can address it.            Okay?

   20                        MS. GEIST:       The only thing, again,

   21    Judge Harz, I just want to make sure it's clear, the

   22    other seven, the ALCL-related adverse event

   23    complaints, all of them are going to be produced.

   24    It's just what do plaintiffs really need?             What is

   25    necessary to conduct this non-merit-based, you know,



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    1    non-substantive ESI-related deposition?              And from

    2    our perspective, if it really is, we want to ask

    3    somebody what is the difference between the adverse

    4    event reporting during the Manman system, Easytrak,

    5    TrackWise, that should be able to be accomplished

    6    with three.

    7                        JUDGE HARZ:       Well, I think the ALCL

    8    reporting from the plaintiffs' perspective is very,

    9    very narrow because there's so many other words and

   10    so many other medical conditions they would want to

   11    see with regard to reporting, because by the time

   12    they use the actual language of ALCL, they are

   13    beyond the point of whether they are concerned about

   14    suspicions having been raised.

   15                        So I don't think the ALCL reporting,

   16    in and of itself, answers their questions.

   17                        MR. KELLY:       It's our understanding

   18    that defendant's ultimate production will include

   19    confirmed ALCL cases, as well as cases with symptoms

   20    consistent with ALCL, despite the lack of a

   21    reference to ALCL.

   22                        MS. GEIST:       Right.   We had agreed --

   23                        MR. KELLY:       And against -- I'm sorry.

   24                        MS. GEIST:       -- ALCL and suspected

   25    ALCL.   Right.



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    1                        But to Judge Harz's point, what I'm

    2    suggesting is these are substantive questions that

    3    will be presumably the subject of a deposition when

    4    we get to the merits.        We're just talking about an

    5    ESI-related deposition, and I think we just need to

    6    be clear it's limited to that.

    7                        And from what I've heard from

    8    plaintiffs' counsel is they would like to see one

    9    exemplar for each different system.            They are all

   10    now in one system, and they would want to see, okay,

   11    what did it look like when the Manman system was in

   12    place, and what did the adverse event reporting, you

   13    know, taken in by the company look like when

   14    Easytrak was in place.

   15                        So they have TrackWise, and they want

   16    an example of a report from Easytrak and Manman.

   17                        JUDGE HARZ:      Okay.   So then,

   18    Plaintiffs, why are you saying it's more than that,

   19    that you need more than that?           Why do you need more

   20    than one from each?

   21                        MR. VESPERMANN:      Your Honor, it kind

   22    of goes back to what I said earlier that with

   23    respect to these complaints, these different --

   24    there's different obligations under the regs linked

   25    together.    Right.     A complaint can lead to a CAPA



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    1    analysis.    And so regardless whether we're in a

    2    particular system, whether it's TrackWise or

    3    Easytrak, how these obligations link together have

    4    changed over time.

    5                        And so we just want to get a sense

    6    of, for example, a failure analysis complaint.               When

    7    something comes in that the device is returned to

    8    the company, how does that process look like and how

    9    do the systems connect.        And I think there's

   10    definitely an ESI component to that because of how

   11    this data is stored.

   12                        MS. GEIST:       On that, Your Honor, I

   13    don't want to overstep Ms. Kwuon, but on that, I

   14    think, at a minimum, we need to meet and confer

   15    about that because this issue about a device failure

   16    and whether or not there was a device failure

   17    analysis, our strong suspicion is there would be a

   18    device failure analysis when there is a, let's just

   19    say, a mechanical failure of the device.             So there's

   20    been a rupture, or some other mechanical failure of

   21    the device.

   22                        The development of ALCL in a woman

   23    who had the device implanted would be a complication

   24    or an adverse event, but not necessarily a failure

   25    of the device.       So if you think about a medical



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    1    device, you know, if there's a rupture, that would

    2    be considered a failure.

    3                        So I do think on that particular

    4    topic, I think that, you know, we should meet and

    5    confer on that because device failure, examples of

    6    device failure analyses are probably outside the

    7    scope of the ALCL litigation that we're talking

    8    about.   We're talking about ruptures and other

    9    examples of true device mechanical failure.

   10                        JUDGE HARZ:      Judge Dickson?

   11                        JUDGE DICKSON:      Well, for the limited

   12    purpose of this deposition, I still don't see any

   13    reason not to do what we're talking about doing,

   14    whether it's three or six.           I understand what you're

   15    saying, Ms. Geist, but if we go down that road,

   16    we're going to wind up pushing the deposition out

   17    and we're going to have briefing on whether or not

   18    what the scope here is.

   19                        You will not be waiving your right to

   20    argue scope at a later date if we can just get some

   21    of these examples of exemplars done now so they can

   22    at least understand what it looks like and how the

   23    data was migrated from the earlier systems into

   24    TrackWise, and whether or not a failure analysis of

   25    a device will ultimately become something that they



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    1    get to look at through thousands of failure devices

    2    we can talk about later.

    3                        JUDGE HARZ:       Okay.   So we'll go back

    4    with the three, just for the purpose of having them

    5    go forward with the deposition?            Is that your

    6    suggestion, Judge Dickson?

    7                        JUDGE DICKSON:       No, I'm not.    I don't

    8    understand what was wrong with six.             How much --

    9                        Ms. Kwuon or Ms. Geist, if they

   10    identify six, I would say to the plaintiffs, if we

   11    can give you six, they should be all different.

   12    Let's not be redundant.

   13                        MR. VESPERMANN:       Absolutely,

   14    absolutely, Your Honor.        They would be very unique

   15    factual circumstances transcending the different

   16    databases, and that's entirely the point.

   17                        JUDGE DICKSON:       And Ms. Kwuon, I get

   18    it, it's going to be more work between now and then,

   19    but how more work?       I mean, can you give me some --

   20    I mean, is it -- is it -- tell me what we're talking

   21    about here.

   22                        JUDGE HARZ:       Its only six, it's only

   23    these six.

   24                        MS. KWUON:       So it really depends on,

   25    for each particular one, again, how many ancillary



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    1    documents and datapoints are related to it.              So I

    2    can't estimate the range.            Initially, when the

    3    department was looking to this issue to pull the

    4    1200 -- I think that was the number -- it was going

    5    to take several months to be able to do that because

    6    of each PDF pulled.

    7                        So what I might suggest maybe to

    8    counsel is that if you want to give me the list of

    9    six, perhaps rank them, we'll start with one, and

   10    we'll try to get all six out to you by the 22nd.                If

   11    for some reason there's a great burden and timing-

   12    related issue, we will start with one and keep you

   13    posted whether or not we can get all the way to six.

   14    But I would suggest --

   15                        JUDGE HARZ:       And then maybe you can

   16    get the remaining, if you can't get all six by the

   17    22nd, you can get all six to them by the 27th, which

   18    is the day before the deposition.

   19                        MS. KWUON:       Why don't you rank them

   20    in order.

   21                        JUDGE HARZ:       Certainly get three to

   22    them by the 22nd, and then maybe the other three by

   23    the 27th to alleviate the pressure.

   24                        MS. KWUON:       Thank you.   That will

   25    help.   And then of course, if we can get them all



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    1    out at the same time, we will do that.

    2                        JUDGE DICKSON:       And I'd like to have

    3    kind of a fulsome meet and confer on this.             Once you

    4    get three and you've looked at them, if you don't

    5    need all six to get to the deposition, alert the

    6    defendants to that.

    7                        MR. KELLY:       Certainly.   We will send

    8    a ranked list very shortly.

    9                        JUDGE HARZ:       What's our next issue?

   10                        JUDGE DICKSON:       The beloved batch

   11    records.

   12                        JUDGE HARZ:       Whoa.   Oh, I have a

   13    question about the batch records.             Can I start with

   14    a question?

   15                        JUDGE DICKSON:       You're a judge.     You

   16    can do whatever you want.

   17                        JUDGE HARZ:       A question about a

   18    sentence.    Okay.     Can everyone turn to page 5 of the

   19    joint September 9 letter.            All right?   I'm going to

   20    the first full paragraph that begins with

   21    "Identification of Biocell devices distributed in

   22    the United States."       The last sentence, I have a lot

   23    of questions about it.         Is everyone with me?       I want

   24    to wait.    Is everyone okay?          Can I see a nod?

   25                        COUNSEL:    Yes, Your Honor.



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    1                        JUDGE HARZ:       It starts with the

    2    sentence, "Nor is it feasible."

    3                        JUDGE DICKSON:       Yes.

    4                        JUDGE HARZ:       "Nor is it feasible, as

    5    Plaintiffs contend, for Allergan to use its device

    6    tracking system to identify this information as that

    7    system reflects information provided by the patients

    8    to Allergan regarding their implanted breast implant

    9    devices, and thus does not necessarily capture every

   10    patient who was implanted with a Biocell device as

   11    not every plaintiff provides their device

   12    information to Allergan."

   13                        I have a couple questions.        Because

   14    if it's not feasible because not every plaintiff

   15    provides their device information, that's a

   16    non sequitur.       I mean, what you're basically saying

   17    is you don't believe every patient provides that

   18    information.

   19                        But my question is, does the

   20    plaintiff provide the information or does the

   21    implanting physician or the hospital, or someone

   22    else provide the information?            Is it really the

   23    individual plaintiff?

   24                        MS. KWUON:       The information is

   25    typically contained within the medical records.               So



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    1    when the device is ordered, and it's different

    2    depending upon a large practice or a small practice

    3    or a hospital, but when the devices are ordered and

    4    then delivered to the hospital, once we make that

    5    delivery, we don't know what exactly happens to the

    6    devices as to who actually receives them.

    7                        So the device, the serial number for

    8    that finished device is generally and supposed to be

    9    included within the medical records for tracking

   10    purposes, and that information is generally expected

   11    to be provided back to the company for our device

   12    tracking.    And so that's sort of like the way you

   13    would register if you purchase a blow dryer, you

   14    know, so that the company can let you know if

   15    there's some kind of an issue with it.

   16                        But that loop doesn't always happen,

   17    and so that there isn't an ability for us to go find

   18    and track all of that.        We have to wait for that

   19    information to come back to us so that then we can

   20    connect those dots on our side.

   21                        JUDGE HARZ:      But some have -- I

   22    acknowledge from this sentence that you're saying

   23    not every time is that information provided to you.

   24    But I'm assuming, I don't know a percentage, but why

   25    wouldn't that be a starting place?



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    1                        MS. KWUON:       Well, so we have the --

    2                        JUDGE HARZ:       Device tracking system,

    3    yeah.

    4                        MS. KWUON:       Sure.    So when we do get

    5    the information, we have the loop on any particular

    6    serial number was implanted in a particular patient,

    7    so we've got that information.            But that doesn't

    8    take us back all the way to the batch records.               So

    9    the batch records, as we tried to explain in our

   10    documentation, the system is intended to track the

   11    devices as they're being manufactured, but not

   12    intended to work backwards.            So the backwards part

   13    of it is more of a -- sometimes I call it reverse

   14    engineering, which is you have to take the serial

   15    numbers and then go trail back.

   16                        So one of the questions that came out

   17    of the last hearing was, can we isolate batches

   18    where devices actually were implanted in US patients

   19    only.   And so the answer to that is, no, we can't do

   20    that at the batch record level.              You have to take

   21    all the individual serial numbers and work backwards

   22    to the batches.

   23                        So we were trying to convey both that

   24    the serial number information we have for implants

   25    is incomplete, we know that to be true, and then it



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    1    doesn't take you to where we started, which is

    2    isolate batches that were ultimately only delivered

    3    to US patients only.

    4                        JUDGE HARZ:      I think Judge Dickson

    5    was reviewing some of the batch records you gave to

    6    us as Exhibits 5.       Judge Dickson, didn't you have

    7    some questions about that?

    8                        JUDGE DICKSON:      What I would like to

    9    know is why are the batch records -- this is going

   10    to sound like a really naive question, but why are

   11    they so important?       Because what I'm reading in the

   12    batch records are basically quality assurance

   13    reports.   This was done, that was done, this was

   14    done, that was done.

   15                        Now, I confess, I did not read all

   16    104 pages, but I read half of it.           So this question

   17    is probably directed to the plaintiffs.

   18                        What is it that -- why do we need all

   19    those?   What's in there that is going to be critical

   20    to your case?

   21                        MR. SLATER:      Thank you, Your Honor.

   22    It's Adam Slater, for the record.

   23                        To answer your question, I want to

   24    step back one step before the manufacturing batch

   25    records became the issue raised by the defense,



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    1    frankly.

    2                        What we asked for was the

    3    manufacturing records that would show the quality

    4    evaluations and the outcomes of those quality

    5    evaluations, and anything that they -- we don't know

    6    all the records they maintain, so we're at a bit of

    7    a loss because we have to accept from them, from

    8    Allergan, what they say they do.

    9                        But we need to be able to track:          did

   10    they do those activities that Your Honor just

   11    referenced; did they actually check off that these

   12    products met their specifications, number one; were

   13    there any deviations; what was done in response to

   14    that; and, more important -- or maybe not more

   15    important, but just as important, we need to see

   16    what they were doing because they should be doing

   17    some random sampling.

   18                        I think they've already acknowledged

   19    they take photographs, and there may even be video,

   20    I'm not sure, but I believe they've said they're

   21    going to be producing photographs so we're going to

   22    be able to see, hopefully, whatever issues they

   23    found that they documented and recorded.

   24                        So we're looking for the

   25    manufacturing records that would let us know, what



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    1    did they do and what were the outcomes and what's

    2    the information because, for example, there may be

    3    issues that are shown by their manufacturing records

    4    that weren't picked up on by Allergan or weren't

    5    focused on that we and our experts look at and say,

    6    this is actually really an important point of

    7    departure where it shows why this got through or

    8    what the problem was.

    9                        So we need the manufacturing records

   10    for all the devices that were sold in the US because

   11    we need to be able to track all of the manufacturing

   12    activities and all of the manufacturing quality

   13    activities.

   14                        Frankly, Your Honor, what you're

   15    looking at sounds mundane and sounds like, well, why

   16    would you need to see that people were checking

   17    boxes, but if it turns out that they were checking

   18    boxes and the actual finished product wasn't

   19    complying, or in the reverse, boxes weren't being

   20    checked so quality reviews weren't being done, that

   21    would be very important information, and we need to

   22    be able to confirm that up front.

   23                        For example, if you looked in that

   24    exemplar and you saw that a bunch of boxes weren't

   25    checked where they're supposed to be checking the



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    1    external textured surface for certain categories of

    2    defects, that probably would have popped out to you

    3    pretty strongly to say, wow, they didn't even look

    4    at this, they didn't check it off.

    5                        So that's why we have to have a full

    6    set of records, not a smattering, not a sampling,

    7    and we need to be able to see that information.

    8                        I hope that responds to your

    9    question.

   10                        MS. GEIST:       Judge, can I respond

   11    briefly to that?

   12                        JUDGE DICKSON:       Sure.

   13                        MS. GEIST:       I feel very, very

   14    strongly that we need to sort of reset and refocus

   15    on what plaintiffs' claims are, because Your Honor

   16    said, Why do you need all this?            What do you really

   17    need? and the answer is, You don't need any

   18    manufacturing batch records other than for the

   19    plaintiffs who filed complaints because these are

   20    manufacturing defect claims.

   21                        So for every single individual

   22    plaintiff, she needs to identify in the record where

   23    her device did not conform, was out of compliance

   24    with the specifications for the product.             That's

   25    manufacturing defect 101.            And those are the claims



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    1    in this case.

    2                        It is not a design defect case

    3    because that would be different and that would have

    4    been preempted.       And I hate to say preemption,

    5    because we had very long briefing and argument on

    6    preemption, but the plaintiffs had to argue they are

    7    not arguing design defect because that would have

    8    been preempted.       So their claims are manufacturing

    9    defect.    They need to stick to their claims.            And

   10    what that means is every individual plaintiff, the

   11    documents that are associated with her particular

   12    device are the only relevant documents with respect

   13    to manufacturing.

   14                        JUDGE HARZ:       Why is that true?

   15                        MS. GEIST:       And in addition -- in

   16    addition -- Your Honor, I just wanted to finish my

   17    thought.    In addition to those manufacturing-related

   18    documents for each individual plaintiff, we will

   19    also provide all of the CAPAs, and that's the

   20    Corrective and Preventative Actions, that arise out

   21    of any non-conformities identified during the

   22    manufacturing process.

   23                        And that's sort of a, let's just say

   24    a global production, that's not specific to any

   25    particular plaintiff, but a medical device company



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    1    will have a CAPA for any time they have identified a

    2    nonconformity during the manufacturing process.

    3                        But again, I think this is a major

    4    dis --

    5                        JUDGE HARZ:      Mr. Slater, why is what

    6    Ms. Geist saying not true?           Why do you need for

    7    everything and not only the plaintiffs?

    8                        MR. SLATER:      Well, to begin with,

    9    Your Honor, this is not just an individual personal

   10    injury litigation.       There's also class actions that

   11    encompass everybody that was implanted with these

   12    devices in the United States.           So our claims aren't

   13    limited to these individual plaintiffs, number one.

   14                        Number two, manufacturing defect

   15    cases can often rest on patterns that emerge over

   16    the course of many documents across entire lots.

   17    They may have evaluated one or two devices in the

   18    lot that plaintiffs happened to have had the

   19    implants in, but there's 12 other devices or 14

   20    other devices in that lot.           When you look at the

   21    entirety of the records, you'll see trends and

   22    you'll see patterns.

   23                        And frankly, the last thing that

   24    counsel said about producing the CAPAs, that sounds

   25    great, but those come into play when they recognize



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    1    the problem.    There's a very good possibility that

    2    they didn't recognize this problem, and it's going

    3    to be up to us to take all of their documentation

    4    and go through that meticulously to find the signals

    5    in those records and the indications in those

    6    records that these problems were recurring and they

    7    were being missed.

    8                        I would hope that that would be the

    9    case for Allergan's sake, that it would turn out

   10    they didn't realize this was the problem and they

   11    weren't catching it, because it's going to be much

   12    more damaging to them if it turns out they knew

   13    there was a problem and they were ignoring it with

   14    the textured surfaces, if it turns out that that's,

   15    you know, based on their records and based on all

   16    the discovery that's where the problem is, and

   17    that's where our case is right now, obviously.

   18                        So I hope that responds to your

   19    question.

   20                        JUDGE HARZ:      Okay.   So the defendants

   21    say, hey, class action, you're only entitled for the

   22    class representative.        You don't get, you know, the

   23    entirety of everything that's out there.             It's just

   24    for the named class representative.            That's what

   25    they say.



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    1                        MR. SLATER:       I don't think that's

    2    true because what we're looking to do is we're

    3    attempting to establish class-wide claims and we are

    4    representing the entire class.            So, yes, there's

    5    individual plaintiffs who have claims, but we have

    6    the absolute right to present evidence that goes

    7    beyond the individual plaintiff.            I mean, I don't

    8    think that the defense is suggesting if we were to

    9    try the class case on the manufacturing defect

   10    claims that we would be precluded from producing

   11    manufacturing records for patients other than the

   12    named plaintiffs.

   13                        I mean, you can do this class action,

   14    conceivably, for -- with, let's say, for one state

   15    with one plaintiff.       I'm trying to simplify this.

   16                        JUDGE DICKSON:       But we're not, but

   17    we're not, and that's where I want -- I kind of want

   18    to go there.

   19                        How many named plaintiffs do we have?

   20    Not representative plaintiffs, because -- don't we

   21    have -- how many complaints have been filed?              I've

   22    lost track.

   23                        MS. KWUON:       We're at 1,040, so that's

   24    about 900-plus in the MDL, 65 named class

   25    plaintiffs, and then that puts it less than a



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    1    hundred in terms of any other jurisdiction.              So

    2    there's 65.    I believe it's 65 named.

    3                        JUDGE DICKSON:       65 named class

    4    plaintiffs, class representatives.

    5                        MS. KWUON:       Yes, out of 1,040 total.

    6                        JUDGE DICKSON:       And the rest are

    7    individual manufacturing defect plaintiff claims.

    8                        MS. KWUON:       Right.

    9                        JUDGE DICKSON:       Okay.   Judge Harz and

   10    I have talked about this.            For starters, for

   11    starters, why can't we just -- and I'll get back in

   12    a minute to Mr. Slater's answer about the batch

   13    records, which I asked -- but for starters, why

   14    can't we at least get all that information produced,

   15    all that, the 1,040 produced?

   16                        MS. GEIST:       We're not disagreeing.

   17                        JUDGE DICKSON:       And I know you're

   18    not, I know you're not, so let's at least -- I'm

   19    sorry.

   20                        MS. GEIST:       It's a lot of paper, Your

   21    Honor.   It's like a hundred -- I think it's a

   22    hundred pages per --

   23                        JUDGE DICKSON:       A hundred thousand, a

   24    hundred thousand.

   25                        MS. GEIST:       -- [overtalking] process,



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    1    it's a lot of paper.       I mean, this is significant.

    2    So I would suggest a sampling, you know, any type of

    3    sampling the plaintiffs are really looking for with

    4    the significant volume that we already agreed to

    5    produce, which is squarely relevant and responsive

    6    to their manufacturing defect claims.

    7                        JUDGE DICKSON:       I get it, but what is

    8    the schedule for produce -- let's say, in my case --

    9    not in my case, I order that now.             What's the

   10    schedule?    What is an appropriate, reasonable

   11    schedule to get all of the batch records produced,

   12    plus all of the CAPAs?

   13                        Now, I just want to make sure I

   14    understand this.       You say also you would not confine

   15    the CAPAs to the plaintiffs, that would be all

   16    CAPAs.

   17                        JUDGE HARZ:       All CAPAs.

   18                        MS. KWUON:       Right.

   19                        JUDGE HARZ:       All CAPAs.

   20                        MS. GEIST:       Right.

   21                        JUDGE DICKSON:       I'll tell you what.

   22    I'm not just interested in getting a lot produced

   23    for no good reason.       This whole issue of the class

   24    and what's discoverable in class discovery, whether

   25    we do merits or class discovery, I don't think we've



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    1    defined.   We don't have a schedule.            We haven't set

    2    forth any parameters.        And when I say "I don't

    3    think," I know we haven't.            So I do want to get to

    4    that, and I was hoping we could start the discussion

    5    today, but I don't think we can finish it today.

    6                        But before we get there, because

    7    Judge Harz and I had a couple of discussions about

    8    this, we're all in agreement that you're at least

    9    going to produce all the batch records for the named

   10    plaintiffs, the class representatives plus all the

   11    individual plaintiffs.        So what's the schedule to

   12    get that done?

   13                        MS. KWUON:       Sure.   So as is in the

   14    declaration of Mr. Rodriguez, who is director of

   15    quality at the manufacturing facility in Costa Rica,

   16    that was the -- which was included in the most

   17    recent one we submitted --

   18                        JUDGE DICKSON:       I saw it.

   19                        JUDGE HARZ:       We have it.    We have it,

   20    yes.

   21                        MS. KWUON:       And as you can see from

   22    the exemplar batch records, it is, you know, lots of

   23    handwritten notes and depending on time, but that

   24    estimation is six hours per batch record, to go back

   25    and manually pull, in many instances, from storage



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    1    the actual records requested here.

    2                        So it's estimated at six hours per.

    3    If you take, let's say, 1,000 plaintiffs, that gets

    4    us to 6,000 hours, 750 work days, eight hours a day,

    5    you know, Monday through Friday.           If it's one

    6    employee full time, it could take as much as 750

    7    days, which is three years.           If it's two employees,

    8    it's a year and a half.

    9                        I don't know if that actually is

   10    going to hold true all the way to end, or if there's

   11    going to be some increased efficiency.               So my

   12    suggestion might be, if we start with, let's say, I

   13    don't know, 10, we will pull and time and get a

   14    better idea of what it is going to take to pull each

   15    one.   We're going to need the finished product

   16    serial number from plaintiffs or plaintiffs' medical

   17    records, but we can start there.           And then I think

   18    once we get an a sampling or a test run, we can then

   19    project out to the Court what it will take to do the

   20    rest of the thousand.

   21                        JUDGE HARZ:      Well, no, I mean, I

   22    think that -- listen, I don't know what the work

   23    force is like in Costa Rica, but it would seem to me

   24    as though, as in other litigations, the company is

   25    going to have to hire, whether it be plaintiffs or



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    1    defendants, very often in litigations you have to

    2    hire other people to support what is needed in the

    3    litigation.    It would seem to me as though you would

    4    need -- you'd maybe have to hire some people to do

    5    this work.    I mean, we can't wait two years for

    6    these batch records for these named plaintiffs.

    7                        So I don't know how many people that

    8    would be.    Maybe it's 10, maybe it's 15, maybe it's

    9    20.   But they have to hire more people to get this

   10    information to them.

   11                        MS. KWUON:       Right.   I think I was

   12    just trying to give an order of magnitude, but no

   13    doubt that's correct.        What I'm going to suggest is

   14    we start with ten or a dozen, plaintiff gives us

   15    serial numbers, we have them working, clock it, and

   16    then we will be able to better project what it will

   17    take to finish one.

   18                        JUDGE HARZ:       I think what Judge

   19    Dickson and I are looking for is, aren't we, Judge,

   20    just a date.    When we -- I guess maybe we're putting

   21    you on the spot and you have to talk to people and

   22    you have to find out who else you're going to hire.

   23    We need a date when the named individual plaintiffs,

   24    whether it be in state or federal court, as well as

   25    the class, when their batch records can be produced.



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    1    I man, everyone agrees that has to be done, so we're

    2    not even fighting over that.            Now it's a question of

    3    the date.

    4                        MS. KWUON:       So we can do that, and I

    5    think also the trigger point of that would be when

    6    we have a serial number, so --

    7                        JUDGE DICKSON:       I'm sorry for

    8    interrupting you, Ms. Kwuon.            I hear you.    I hear

    9    you.   But why -- can I suggest you meet and confer

   10    with Mr. Slater or whoever Mr. Slater puts up with

   11    you on this issue within -- and get us a joint

   12    status letter within ten days as to -- to see -- to

   13    talk about who needs to do which job and how long it

   14    will take that side to do that job, and then do --

   15    and then to hopefully agree.            And assuming that you

   16    don't agree, tell us, each, in the letter what your

   17    positions are, and then Judge Harz and I will decide

   18    how to cut the baby.

   19                        MS. KWUON:       Okay.

   20                        JUDGE DICKSON:       Great analogy, great

   21    metaphor.

   22                        JUDGE HARZ:       Okay.   So I have written

   23    down the number 1,040.        Is that an approximate

   24    number of batch records we're talking about right

   25    now that we're looking for a date of production for



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    1    named individuals?       Is that number correct, 1,040?

    2                        JUDGE DICKSON:       That's how many

    3    plaintiffs.

    4                        JUDGE HARZ:       Are my numbers right?

    5                        MR. SLATER:       I'm not sure if that

    6    included the MCL, also, Janet.            I'm not sure if you

    7    included the New Jersey litigation in that count.

    8                        MS. KWUON:       I believe it did, but we

    9    can go back.    That's my general understanding, but

   10    we can go back and check numbers.

   11                        JUDGE HARZ:       And I think, and I might

   12    be confusing my cases, aren't there also cases --

   13    are there cases in California on this one?

   14                        MS. KWUON:       There are.

   15                        JUDGE HARZ:       Yeah, okay.    So then the

   16    universe of cases.       I think that's what we need to

   17    know, right?

   18                        JUDGE DICKSON:       Yes.

   19                        MS. KWUON:       We'll factor that in.

   20                        MR. CARSON:       Your Honor, this is

   21    Shanon Carson.       There are also many cases that are

   22    subject to a tolling agreement between the parties,

   23    so I think that needs to be factored into this

   24    discussion.

   25                        JUDGE HARZ:       How many?   How many?



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    1                        MR. CARSON:       Dave, do you know the

    2    exact number?

    3                        MR. STANLEY:       Yeah, I do.    Yes.

    4                        Good morning, everybody.         David

    5    Stanley from Reed Smith for defendants.

    6                        We have, if you count the foreign

    7    claimants, we have over 6,000 tolled claimants, so

    8    -- and that would complicate things significantly if

    9    we were factoring those in.            So I think we should

   10    probably try to stick to what we have on file, at

   11    least at this point.

   12                        JUDGE HARZ:       Did you say foreign

   13    claimants?

   14                        MR. STANLEY:       Yeah, there are a

   15    number of citizens of South Korea who have entered

   16    into a tolling agreement.            We haven't necessarily

   17    agreed that if -- once the tolling agreement expires

   18    that we would -- that we would allow them to come

   19    into the United States to file claims without

   20    objection.    But at least at this point, those claims

   21    are tolled.

   22                        If you take those out of the

   23    equation, I would have to go back and check my

   24    charts to see, but out of the 6- or 7,000 tolled

   25    claimants, probably over half of them are from South



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    1    Korea.

    2                        JUDGE HARZ:       And the country of

    3    implant was?

    4                        MR. STANLEY:       I don't understand your

    5    -- you mean -- oh, no.        South Korea.        So these are

    6    South Korean plaintiffs who were implanted in South

    7    Korea.

    8                        JUDGE HARZ:       Okay.    Thank you.

    9                        MS. GEIST:       And again, I just wanted

   10    to note, the vast majority, I think, of the

   11    plaintiffs who have filed and then the named

   12    plaintiffs, the vast majority of plaintiffs are

   13    women who have not been diagnosed with ALCL.                So

   14    that's a very --

   15                        JUDGE HARZ:       Right.

   16                        MS. GEIST:       -- rare condition, so

   17    some consideration might be given to the differences

   18    among the plaintiffs.

   19                        JUDGE HARZ:       Thank you.

   20                        JUDGE DICKSON:       In terms of the class

   21    actions, are there -- I went back and I was looking

   22    at Judge Martinotti's opinion, and he deals with a

   23    medical monitoring class.            Are there any other

   24    proposed causes of action in the complaint that were

   25    not brought up on motion, other than medical



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    1    monitoring, for a class action?

    2                        MR. CARSON:      Yes, Your Honor.     There

    3    are extensive causes of actions that are pleaded in

    4    the class action complaint, including causes of

    5    actions for breach of warranty, and causes of action

    6    for violation of state consumer protection statutes,

    7    and there -- it's a complaint that, if I remember

    8    correctly, is over 1200 pages, most of which is

    9    causes of action individually listed for each

   10    jurisdiction.       And so there -- there is a lot there.

   11                        JUDGE DICKSON:      I really -- Judge

   12    Harz and I started this conversation.            And Judge, I

   13    apologize.    The more I thought about it, the more I

   14    realized how well I wanted to focus, so I haven't

   15    had a chance to tell this to you to get your take on

   16    it.   So you can slap me back as much as you need to.

   17                        But before I'm going to be

   18    comfortable making a final decision on what batch

   19    records or any other manufacturing records that we

   20    haven't even discussed, if there are any, should be

   21    produced in the federal action, I need the parties

   22    to do what they normally do, and that's tell me in a

   23    joint discovery plan what discovery -- what's

   24    relevant discovery for these causes of action,

   25    because there are issues as to --



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    1                        I mean, normally, we all know you

    2    don't take discovery from putative claimants, and so

    3    -- and I think Ms. Geist has made that point and I

    4    agreed that is a point to be considered.               But I

    5    heard what Mr. Slater said today, too.               But I need

    6    to know how this discovery that you're seeking

    7    relates to the causes of action in the class, the

    8    class action cases.       Not in the individual cases.

    9    That's easy.

   10                        MR. CARSON:      Your Honor --

   11                        JUDGE DICKSON:      But in the -- but in

   12    the individual cases, we've already told you you

   13    have to turn over all the batch records for the

   14    individuals, so that's not really an issue.               I'm

   15    talking about the class action.

   16                        MR. SLATER:      I think what might be

   17    getting lost, Your Honor, is that there's a

   18    manufacturing defect claim obviously in the class

   19    actions, which is the basis for the remedy of

   20    medical monitoring for states that consider it to be

   21    a remedy as opposed to a --

   22                        JUDGE DICKSON:      Okay, okay.      So

   23    that's what I assume, but I need for the parties to

   24    relate the discovery that would be irrelevant for

   25    class discovery.       And that's the other issue.            We



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    1    haven't talked whether we're going to do class

    2    discovery and merits discovery at the same time, or

    3    whether we're going to do class discovery first.

    4    And I know sometimes it's almost impossible to

    5    separate them, or at least it's difficult.              And we

    6    need to talk about that, I think.

    7                        MR. CARSON:       Your Honor --

    8                        JUDGE DICKSON:       At least from my

    9    perspective, we have to.         We have to do both.

   10                        I'm sorry, Shanon.       I didn't mean --

   11                        MR. CARSON:       No, I was going to say I

   12    completely agree, Your Honor.            This wasn't teed up

   13    as an issue for today's conference, but we will meet

   14    and confer with defense counsel and do what exactly

   15    what you're suggesting, and I think defense counsel

   16    would agree with this, as well, and tee up these

   17    class discovery issues for the next conference.

   18                        JUDGE DICKSON:       Ms. Geist, you agree

   19    with that, right?

   20                        MS. GEIST:       I'm sorry, Judge.     I was

   21    nodding.   Yes, of course, we're happy to meet and

   22    confer and discuss it, and we can certainly discuss

   23    it at the next conference.

   24                        JUDGE DICKSON:       So, for this

   25    conference, though, and then there's one other issue



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    1    Judge Harz, that you and I talked about because I

    2    still don't understand why we cannot find out.               I

    3    understand what you're telling me, defense counsel,

    4    as to why it's impossible -- not impossible -- I

    5    think "feasible" was part of that sentence that was

    6    contained in the paragraph where you were, I think,

    7    pushing back on the idea of determining which --

    8    connecting the batch records for the products that

    9    were shipped into the United States.

   10                        And I get that from that perspective,

   11    because it's all on paper and you have to reverse

   12    engineer and everything, but let me try another idea

   13    which I mentioned to Judge Harz.

   14                        Why can't you go to the Allergan

   15    sales people, department, whatever we want to call

   16    it?   I mean, those are the ones that ultimately

   17    would have sold the devices in the United States,

   18    the United States Allergan sales people, assuming

   19    they have a sales department for every country.

   20    Even if they don't, why would not the sales

   21    department have records on what they sold in the

   22    United States over the last 30 years.

   23                        MR. SLATER:      Your Honor, it's -- I

   24    think it might not even -- I think sales would know,

   25    obviously, but there's actually an arm of the



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    1    company, I would assume, that is a production arm,

    2    and I'm using "production" generically, that is

    3    involved in overseeing all of the shipping.

    4                        If they send a product anywhere, they

    5    track it.    They have paper or they have electronic,

    6    and they know exactly every device where it went.

    7    They have to know that.        So they know every device

    8    that went to the United States.           They have to.

    9                        JUDGE DICKSON:      Well, Mr. Slater, you

   10    should understand that I want to know this because

   11    I'm trying to determine whether or not we can reduce

   12    the magnitude of some of the discovery.              You are

   13    going to continue to argue, I assume, that you want

   14    everything that Costa Rica touched.

   15                        MR. SLATER:      No, no.   What we

   16    actually said in the letter was this.            What we want

   17    is the records for the lots from which product was

   18    sold into the United States.           We have stepped back

   19    from our position, and we thought it was a

   20    significant compromise, from all of the

   21    manufacturing records in the plant.

   22                        What we've said is we'll accept the

   23    lots from which product was sold to the US, because

   24    they've told you, Well, we don't know what every

   25    single product, exactly, if it was in plants or not,



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    1    who it went to, but they know if products went from

    2    Lot A to the US.       If they sold three from that lot

    3    to the US and 17 to France, we are asking for that

    4    lot.

    5                        That way it makes it simpler for them

    6    to identify the lots.        And we've taken a big step

    7    back from what our initial ask was.

    8                        JUDGE DICKSON:       Ms. Kwuon.

    9                        MS. KWUON:       Sure.   So I guess to

   10    answer the Court's question about the reverse

   11    engineering, whether your --

   12                        JUDGE DICKSON:       I agreed with it.      I

   13    understood it.       I'm not really asking why is that

   14    so.    I got it.     I'm saying, why can't we do what

   15    Mr. Slater just said?        In other words, forget Costa

   16    Rica, or trying to get the information out of Costa

   17    Rica.

   18                        MS. KWUON:       So it's two-fold.     One is

   19    we have to start with the issue of whether or not

   20    it's relevant to the case, and we start pulling

   21    batch records for non-plaintiffs.             We have our

   22    class-related argument that we're going to address,

   23    it sounds like at the next hearing, with more

   24    specificity.    And then we have the inordinate amount

   25    of burden related to this particular kind of going



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    1    any broader than what we're doing here with regard

    2    to the plaintiffs.

    3                        So just as we're going to get more

    4    information to provide to the Court about how long

    5    it's going to take even to do the 1,000-plus -- and

    6    again, that early estimate was six hours per record

    7    that we're pulling and tracing -- as it relates to

    8    the batch records, the design history records, as

    9    you can imagine, the records that follow start to

   10    then trail off and become individual records to that

   11    particular finished product.

   12                        So there isn't a commonality of a

   13    common set of records that is going to apply all the

   14    way to finished product.        So it still is a very

   15    manual process.

   16                        When we're talking about manually

   17    pulling records for batches and for devices that

   18    didn't even enter the United States, we are talking

   19    about three quarters of the production, devices that

   20    were sent out globally and not in the US, we're

   21    talking about multiplying all of those things, the

   22    six hours per batch record, the number of hours it's

   23    going to take to pull that manual pull, the

   24    exponential level that has -- and we've looked --

   25    never been ordered is above and beyond what we're



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    1    talking about here, which are the plaintiffs that

    2    are at issue.

    3                        So what we would like to do is what

    4    the Court is suggesting, is start with a set, run

    5    through the whole process, get very precise metrics

    6    about time and burden.        We can extrapolate from

    7    there what it will take to do over a thousand

    8    plaintiffs and their batch records, and then it

    9    makes sense, at least to us, to then pause as we

   10    address the scope of discovery relative to putative

   11    class plaintiffs.

   12                        JUDGE DICKSON:       Okay.   But I'm

   13    interested in getting an answer to Mr. Slater's

   14    question.    And maybe you're right, maybe it comes in

   15    the discussion about the scope, but I think -- I

   16    want to know how we can track what was brought into

   17    the United States, from my perspective, which I can

   18    reduce the scope for you, which Mr. Slater is

   19    apparently agreeing to do.            Well, I shouldn't say

   20    "apparently."       Which he has flat-out agreed to do.

   21                        MS. KWUON:       From what entered the

   22    United States was implanted in a US patient, the

   23    tracking on that is with the serial number.              So you

   24    have to take --

   25                        JUDGE DICKSON:       I think you're -- I



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    1    don't mean to interrupt you, but I think you're

    2    narrowing it down right now to the named plaintiffs.

    3    Right?

    4                        MS. KWUON:       No, no, to all -- to all

    5    implants that entered into the United States with

    6    the intention.       So what happens is that --

    7                        JUDGE DICKSON:       So you're saying

    8    Mr. Slater is wrong and there's not some corporate

    9    department who knows what was brought into the

   10    United States.       Whether they were implanted or not.

   11    They could be sitting on shelves.             But I'm talking

   12    about devices that come to the United States.

   13                        MS. KWUON:       Okay.   So they sit in a

   14    distribution center, and then when there is an order

   15    for a particular type and size, those breast

   16    implants are then sent to that location.             So the

   17    distribution center does know what it is sending

   18    when it receives orders.

   19                        It does not have information there

   20    that links it back to batch records.             To actually

   21    link it back to batch records, you have to go down

   22    to the serial number, just like we would need to get

   23    from the plaintiffs, and then go backwards to find

   24    the batch number.

   25                        So there isn't a way to take the



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    1    batch data of 280,000 batches and say, Oh, these are

    2    the ones that have less bound devices and these are

    3    only global.    Instead, you have to start with that

    4    serial number order in that distribution center and

    5    go backwards to see what batch that belongs to.

    6                        JUDGE DICKSON:      Okay.   I understand

    7    what you're saying now.        So you can identify what

    8    products were shipped into the United States, but

    9    you will not be able to link that with a batch

   10    record until we have -- I got it.

   11                        MR. SLATER:      Your Honor, just to be

   12    clear because I don't want to have misled Your

   13    Honor, if I did.

   14                        What we're asking for -- and I see

   15    where you're going, and we'll obviously abide by

   16    whatever you do.

   17                        We're asking for the lots from which

   18    the product went to the US.           Not just the product

   19    that went to the US, not just the records for those

   20    devices, but for the full lots, because that's

   21    actually easier for them to produce.            If they know

   22    they shipped any product from a particular lot to

   23    the US, that lot would be captured and they don't

   24    have to do this production they're talking about.

   25                        And I also will tell you, and maybe



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    1    what it's time for Allergan to do is start producing

    2    their distribution center records and show us --

    3    have some transparency on what these records look

    4    like because I would be stunned if the distribution

    5    center records that say these 50 devices went to the

    6    US doesn't list the serial numbers and everything

    7    else.

    8                        They have to be able to track forward

    9    and back, and we're asking them to track forward

   10    now.    They said they can't reverse engineer, that

   11    they can't do that.       They don't need to do that.

   12    What they need to do is know what they sent and

   13    where they sent it to, and they know that, and they

   14    know it in the distribution records.

   15                        If their records don't reflect the

   16    serial numbers of what product got sent to the

   17    United States someplace, then they're saying there's

   18    no way to link the products that went to the US to

   19    where it was manufactured.            That would be

   20    impossible, and the FDA would be very interested in

   21    that.

   22                        MS. KWUON:       I feel like we're

   23    speaking in circles.       I'm saying that the serial

   24    numbers can't be identified from when they are

   25    distributed.    I'm just saying that having that



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    1    serial number doesn't take us back to being able to

    2    better sort identify the batches.            You have to take

    3    the serial number, trace, pull these batch record

    4    documents that has been provided to the Court to get

    5    you back to the batch.        This isn't a shortcut in

    6    trying to partition or parse out the different

    7    batches.   That was the only part I'm trying to --

    8                        JUDGE DICKSON:       Okay.   Here's what

    9    I'd like, here's what I'd like.

   10                        Mr. Slater, can you give me a letter

   11    that outlines where you are now, and I don't mean to

   12    suggest that you're changing, but I think you did

   13    say you reduced your --

   14                        MR. SLATER:       I think it's in the

   15    letter we submitted, frankly, Your Honor.

   16                        JUDGE DICKSON:       Which letter?

   17                        MR. SLATER:       The January.   It should

   18    be in there.    At least it was when I wrote it.

   19                        JUDGE HARZ:       It's on page 2, the

   20    second to last paragraph:            "Plaintiffs offered to

   21    compromise their request, without prejudice to

   22    future requests, to accept the manufacturing records

   23    for all lots and batches from which devices were

   24    sold into the United States.            Defendants rejected

   25    this position out of hand."



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    1                        It's on page 2, second to last

    2    paragraph.

    3                        JUDGE DICKSON:       Uh-huh.

    4                        All right.       I'm sorry.    Does Allergan

    5    tell me in here why they are rejecting that out of

    6    hand?

    7                        MS. KWUON:       Yes.   So if we go back to

    8    -- so plaintiffs went from all global to --

    9                        JUDGE DICKSON:       No.   Did you tell me

   10    -- did you actually respond to that in this letter?

   11    Because I'm looking at the letter, but apparently

   12    I'm having trouble with a brain fart trying to

   13    figure out which --

   14                        MS. KWUON:       We did on multiple

   15    fronts.   So the first section on class was based on

   16    what is the appropriate scope of discovery.              The

   17    second part of it was a discussion about how the

   18    exemplar batch records, the hundred pages, is

   19    representative of what you're going to extrapolate

   20    back to 273,000 batches.

   21                        JUDGE DICKSON:       Right.

   22                        MS. KWUON:       Reducing down to US might

   23    reduce the piece count by tens of millions, but it

   24    doesn't reduce the amount of work in tracing back to

   25    the batches.



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    1                        And then the last part of our

    2    argument there had to do with what we're able to do

    3    and the scope of what we're talking about with

    4    regard to the 1,000-plus plaintiffs at hand here.

    5                        So we did address it in the letter.

    6                        JUDGE DICKSON:       I'm going to --

    7                        MS. GEIST:       Judge, can I just say one

    8    thing?    One thing.

    9                        JUDGE DICKSON:       Yes, sure.

   10                        MS. GEIST:       I think we did address on

   11    multiple fronts, as Ms. Kwuon just articulated, at a

   12    rock bottom, at rock bottom we're talking about over

   13    a million devices sold in the United States.               So

   14    that just translates.        What does that translate

   15    into?    It's 130 million pages.          So I think, at rock

   16    bottom, that is our argument, why we are saying no,

   17    because it is wildly overbroad, it is not relevant,

   18    and we have already agreed to turn over the

   19    manufacturing batch records for over 1,000

   20    plaintiffs, which will be at least 6,000 hours.

   21                        So I would just say the sheer number,

   22    130 million pages, I think more than demonstrates

   23    the overbreadth of this argument on behalf of

   24    plaintiffs.

   25                        JUDGE DICKSON:       All right.    So Judge



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    1    Harz and I will continue to discuss it, unless she's

    2    ready to rule right now.

    3                        JUDGE HARZ:       We will discuss.     We

    4    will discuss.

    5                        JUDGE DICKSON:       So let's move on to

    6    the organization tables.

    7                        JUDGE HARZ:       When are the CAPAs going

    8    to be produced?

    9                        MS. KWUON:       Those will be produced, I

   10    would say, by like the second week of October.

   11                        JUDGE HARZ:       Let's give it a date.

   12                        MS. KWUON:       Let me look at my

   13    calendar.

   14                        JUDGE HARZ:       October 15th?

   15                        MS. KWUON:       October 15th.    Thank you.

   16                        MS. GEIST:       Your Honor, I have the

   17    organizational information.

   18                        JUDGE DICKSON:       Okay.

   19                        MS. GEIST:       I did want to note, Your

   20    Honor, I had designated 90 minutes or an hour and a

   21    half for our conference, which I think is what we

   22    had agreed upon, and with apologies, I have a hard

   23    stop right before 1:00.

   24                        JUDGE DICKSON:       That's all right.

   25    Let's see if we can chainsaw this.



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    1                        MS. GEIST:       Your Honor, I can state

    2    very briefly, and I'm sure plaintiffs will respond.

    3    Very briefly, we've provided quite a bit of

    4    organizational information by the company.             I think

    5    Your Honor stated earlier, let's get to the merits

    6    discovery.    This is not merits discovery.           This is

    7    organizational information.            We have provided quite

    8    a bit in two separate letters to the plaintiffs,

    9    which we referred to and included in the index.

   10                        I'm not sure what the focus is.          We

   11    have -- as a reminder to the Court and to the

   12    parties, there was a stipulation put in place in

   13    this litigation as to the proper parties, the proper

   14    named defendants, so a lot of this focused on

   15    corporate organization and structure seems to be a

   16    little far along from the real issues.

   17                        We have provided and we will continue

   18    to provide any organizational charts that the

   19    company has and maintains.            We have communicated to

   20    plaintiffs that historically Allergan and its

   21    predecessors did not and were not required to keep

   22    organizational charts.        There is not a central

   23    location or a database for organizational charts.

   24                        I counted in preparation for today's

   25    conference at least 119 organizational charts that



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    1    we produced for Allergan, for McGhan and Inamed, the

    2    predecessor companies, and that this organizational

    3    information covered many, many different

    4    departments, including regulatory, marketing,

    5    medical, safety, quality assurance.

    6                        So we have produced what we have.            We

    7    will continue to produce or give custodial files if

    8    we find any other organizational charts.               But our

    9    position is there shouldn't be -- we shouldn't need

   10    to do anymore.       We can only produce what we have.

   11                        And I harken back to our last

   12    argument about, you know, plaintiffs' request that

   13    we put together charts of information.               There's no

   14    obligation to do that, similar with the

   15    organizational charts.        We have produced quite a bit

   16    and we have complied with our obligations.

   17                        So that's our position.

   18                        JUDGE DICKSON:      Let's hear from

   19    plaintiff.

   20                        MR. SLATER:      I will cut to the chase.

   21                        We're going to -- we would like to

   22    send a 30(b)(6) notice, take a deposition of

   23    corporate representatives.           I'm sure the Court is

   24    weary, as we are, with lawyer letters going back and

   25    forth with bits and pieces of the story being put



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    1    together.    I'm sure the Court has never seen such

    2    difficulty in understanding the organization of a

    3    defendant or defendants.

    4                        So we would like to end the

    5    letter-writing campaign.         We would like to depose a

    6    30(b)(6) witness and put this issue to bed because,

    7    from our perspective, we need this to have the

    8    context, to understand the documents, to understand

    9    who is who, to understand who matters, to know what

   10    things mean, to understand which companies were

   11    doing what, what departments did what.               Then we can,

   12    when we go into the regular depositions of actual

   13    fact custodians, we're not going to have to waste

   14    deposition time asking organizational questions.

   15                        So that's what we ask for, Your

   16    Honor.   We would just like to move to the deposition

   17    and put this issue behind us.

   18                        MS. GEIST:       And we strongly disagree,

   19    probably not surprisingly.            I do think that's

   20    backwards.    I don't think I've ever been involved in

   21    a litigation of this type where you had to give a

   22    30(b)(6) up front on corporate organization.               At a

   23    minimum, it comes to the defense via interrogatory.

   24    I'm very familiar with that.            That might be an

   25    appropriate vehicle.



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    1                        But as the documents are produced,

    2    typically, it becomes very clear when you look at

    3    the documents.       Which, again, there's 115

    4    organizational charts in our production already.

    5    There's a lot of information there.           But as the

    6    documents continue to be produced, it becomes very

    7    clear, you know, who are the critical people

    8    involved in the decision-making, what were their

    9    roles over various time periods.          It's all very

   10    evident from the documents.          And then plaintiffs can

   11    ask their questions at the appropriate merit

   12    deposition.

   13                        I don't know how we would possibly

   14    put up a 30(b)(6) witness on all of these topics for

   15    the last, you know, however number of years we're

   16    talking about.       It would seem to be virtually

   17    impossible.    And again, Your Honor, I'm not aware of

   18    anybody having to do this, and if this information

   19    cannot be gleaned from what we've already provided,

   20    I think the appropriate vehicle would be

   21    interrogatories.

   22                        I think we had talked about

   23    interrogatories at our last conference or our

   24    conference in July when a similar type information

   25    was being requested.       I think the default is always



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    1    "We're going to take a deposition," and why don't we

    2    really get to the merits and stop, you know, with

    3    the sideshow of a 30(b)(6) deposition every time we

    4    have a dispute.

    5                        MS. LENZE:       Your Honor, so, if I may,

    6    one of the reasons -- well, let me start with this.

    7    To use a phrase that has been proffered by Ms. Kwuon

    8    earlier today, the information we have requires us

    9    to reverse engineer to find who the players are.

   10                        And the Court, Your Honors, have

   11    already ordered in CMO 2 the defendants to provide

   12    information about the departments and the divisions

   13    for all defendants, and there are major gaps in what

   14    they've produced.

   15                        For example, the information they

   16    have produced in their, I believe it was, July 20th

   17    letter only provided information from 2020 with

   18    respect to the Allergan defendants.            With respect to

   19    McGhan, it was only for one year; I believe '99.

   20    With respect to Inamed, maybe 2002, 2003, to 2004.

   21    But there are major holes in even the structure to

   22    begin with.

   23                        And then their production of

   24    organizational charts is similarly as lacking.               We

   25    are given one year of maybe global medical, for



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    1    example.    Then maybe that's from 2010.             We've also

    2    seen maybe something from 2012 of one department,

    3    but we don't even know where to plug that department

    4    in because we have no original chart from that year

    5    to understand the structure.

    6                        And the documents that they've

    7    provided, including the 38 custodial names,

    8    similarly leave us with kind of these gaps and

    9    questions.    There's only seven individuals on that

   10    list of the 38 that were a part of the companies

   11    prior to 2006, and 2006 was when Allergan got

   12    involved.    But McGhan has existed, you know, back

   13    from 1974.

   14                        And so, you know, we request this

   15    information really about who was in charge of these

   16    departments, what were the departments like in any

   17    given year, and who ran these departments.               Even in

   18    the 38 custodial names, we're given lots of

   19    directors, we're given lots of -- we have no

   20    understanding of who to go to or who to put up,

   21    even, as our potential custodians because we don't

   22    know what the structure is, we don't know the names.

   23    And obviously, it goes to what they knew and when

   24    they knew it.

   25                        Obviously, one of the points that



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    1    Allergan makes in their letter and was just made

    2    here is that, you know, this information about

    3    predecessors is tangential, but this information,

    4    plaintiffs' position is that this information is

    5    really critical.       The first presence of ALCL in the

    6    literature was even back in the '90s.

    7                        So what the company was doing back in

    8    the '90s and who was responsible for doing it is

    9    really at the core of our case, and so we are, at

   10    our most basic, requesting a years chart, really, of

   11    what the structure looked like for any one of the

   12    given companies and who was at the head of those

   13    divisions.

   14                        JUDGE HARZ:      I think -- Judge

   15    Dickson?

   16                        JUDGE DICKSON:      No, go ahead.

   17                        JUDGE HARZ:      I think we should have a

   18    deposition.    The questions is, I'm not sure one

   19    person can provide the information that is being

   20    requested.    I understand what is being requested.              I

   21    also agree it's not a tangential issue.              I circled

   22    that in the letter that it's not tangential.

   23                        So I think what would be best --

   24    actually, it's kind of already been done, but I

   25    don't know if the plaintiffs want to write a letter



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    1    indicating the information they want.            I mean, I

    2    hear names.    McGhan, Inamed.         I hear time frames.

    3    If you want to write a letter saying that you want a

    4    person with best knowledge to provide information

    5    regarding X, Y, and Z from such companies from this

    6    period of time to such period of time, because then

    7    defense counsel may want to produce two or three

    8    different individuals to respond to the scope of

    9    that deposition focus.

   10                        MR. SLATER:      Your Honor, we can even

   11    -- that's a great idea.        I think we can even go one

   12    better to try to save a step.           If we get a week, we

   13    can serve the dep notice within a week.              That way it

   14    will be spelled out exactly what we're looking for.

   15    And we can even copy the Court if you want when we

   16    submit it to the defense so you can --

   17                        JUDGE HARZ:      Yes.   Copy the Court, as

   18    well.   In terms of scheduling the dep, I mean, once

   19    you serve the notice, I think defense counsel will

   20    have to determine who can respond to what.              It may

   21    be two people, it may be four people.            I don't know.

   22                        But I agree, I'm kind of done with

   23    this whole issue, and I think we -- plaintiffs

   24    wanted to do the dep to begin with.            I said no.     We

   25    were working -- and Judge Dickson said no.              Now it's



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    1    just do that.

    2                        MS. GEIST:       Your Honor, my only --

    3    again, I don't mean to reargue again and again.                   My

    4    only, I guess, request or at least for

    5    consideration, is why are interrogatories not the

    6    appropriate vehicle for this type of --

    7                        JUDGE HARZ:       We're not going to get

    8    the information unless someone is deposed with the

    9    knowledge.    Interrogatories is more writing.               We're

   10    done.   We're done with -- we have to move forward.

   11    Do the deposition.       Let an individual answer who did

   12    what when and who was in charge when, because the

   13    plaintiffs need this so that they can move forward

   14    to know what custodial records they need.               We all

   15    know this.    We have to move this case.             Okay?

   16    That's why.    Interrogatories aren't going to give

   17    anything more than all the other papers.               They want

   18    to move to questions.

   19                        JUDGE DICKSON:       So, Ms. Lenze, or

   20    Mr. Slater, or both of you, the dep notice, and not

   21    just to reiterate it, has to specifically go for

   22    those gaps.

   23                        MR. SLATER:       They will.

   24                        MS. GEIST:       Do we have a time?       I

   25    mean, you know what, Your Honors, what I would



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    1    suggest is we will see the deposition notice, I

    2    suspect we will have some objections to scope and

    3    time period.

    4                        JUDGE DICKSON:       Well, we'll do it the

    5    old-fashioned way.       You will respond to the dep

    6    notice and if you don't meet and confer to work it

    7    out, then you'll write a letter and I'll --

    8                        JUDGE HARZ:       Yeah.

    9                        JUDGE DICKSON:       Or Judge Harz will.

   10                        JUDGE HARZ:       Yeah.   Why would there

   11    be objections as to who would have knowledge as to

   12    organizational information of the company?

   13                        JUDGE DICKSON:       I think Ms. Geist was

   14    talking about how far back they want to go, and to

   15    what department they might want to.

   16                        I'm sorry.       Ms. Geist, why don't you

   17    explain.

   18                        MS. GEIST:       No, that was exactly --

   19    that was my thinking exactly.            Depending on the

   20    departments we're talking about and --

   21                        JUDGE HARZ:       Okay.   Mr. Slater, how

   22    far back is the deposition notice going to go?

   23                        MR. SLATER:       I think it's probably

   24    going to go back quite a ways in terms of the

   25    corporate relationships and identifying the people



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    1    in the departments that would make -- be the most

    2    significant to the issues in the case, and we're

    3    going to try to figure that out.            And we're happy,

    4    once we serve the deposition notice, for the defense

    5    to say, Hey, you know, this is what you really need,

    6    and that is what you really need, and they can help

    7    us with some vocabulary.

    8                        Some of these companies go back to

    9    the '80s, but we're obviously not going to ask for

   10    the name of every person that was in a certain

   11    department in 1988, because that's going to be hard

   12    to get.   We're going to figure out which are the

   13    most salient features of the organizations that we

   14    need, and as we move forward, we will probably need

   15    more granular information.            And I think that these

   16    questions from Your Honor and Judge Dickson help us

   17    to know that we do need to focus and to make sure

   18    what we're asking for in this deposition that we can

   19    defend it.

   20                        MS. GEIST:       That sounds fine.

   21    Keeping in mind the date of the label change,

   22    keeping in mind when this new disease sort of came

   23    into --

   24                        JUDGE HARZ:       Oh, speaking of the

   25    label change, what are we going to do with regard to



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    1    providing information as to when certain things --

    2    like particular dates.        Remember, there was a whole

    3    issue.    Plaintiffs wanted to know specific dates

    4    for --

    5                        MR. SLATER:       For approval and in use

    6    dates.

    7                        JUDGE HARZ:       Thank you.

    8                        What are we doing with that?

    9                        MS. GEIST:       We had a very lengthy

   10    discussion about that, Your Honor, in July, and I

   11    don't think we had a resolution.            I know Your Honor

   12    said many times, forget about the charts, because I

   13    highlighted it in the transcript, forget about the

   14    charts.

   15                        JUDGE HARZ:       Just give the

   16    information, yeah.

   17                        MS. GEIST:       Out opposition was, you

   18    know, we're not creating charts since we're --

   19                        JUDGE HARZ:       Well, everyone is going

   20    to need to know that.        You need to know that, the

   21    Court needs to know that, plaintiffs need to know

   22    that.    So I just don't want to leave that hanging

   23    because it's something that is going to come up

   24    again.

   25                        So are you meeting and conferring



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    1    about this?    What are we doing with the issue?

    2                        MR. SLATER:      Your Honor, frankly, I

    3    think that we are at the point where we are -- and

    4    I'm almost embarrassed to have to say this because

    5    I've never had such issues on such foundational

    6    basic things.

    7                        I don't know why, for example,

    8    defense counsel doesn't want to provide a chart.

    9    Whether they provide it in a list, on an abacus, I

   10    would think that they would want an organized

   11    document so everybody can refer to it when we get to

   12    trial, and say, Everybody, we gave you this

   13    information, you know when these things were in use,

   14    so don't tell us you don't know.

   15                        So I would like to -- whether it's a

   16    chart or a list, they don't want to give it to us at

   17    all, just like they don't want to give us

   18    organization information.

   19                        So I'm embarrassed to say we have to

   20    depose a witness, and as the deposition goes on, put

   21    each document in front of the witness, and say, When

   22    was this approved?       When was it in use? and then

   23    write it down and fill our own chart out and hand it

   24    to the witness at the end of the deposition, and

   25    say, That's what you told us, correct?               Now we have



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    1    our chart, because it's the only other way to go at

    2    this point.    And I can tell you, if there's -- I

    3    don't think there's any question in Your Honor's

    4    mind about how important this information is.              I

    5    mean, it's clear --

    6                        JUDGE HARZ:       Everyone needs this

    7    information.    Okay.     So I'm just asking, let me ask

    8    defense, what is your plan with regard to responding

    9    to this request, the approval and in use dates?

   10                        MS. GEIST:       So I think Mr. Slater and

   11    I should talk about it.        I am only aware of having

   12    to do this once before, and that was pretrial, so it

   13    was late in the game, when the discovery was done

   14    and the parties were deciding what evidence they

   15    wanted to use at trial.

   16                        JUDGE HARZ:       How would you do the

   17    depositions --

   18                        MS. GEIST:       They were done, they were

   19    done, Judge, because usually a revision date at the

   20    bottom of communication pieces with physicians, and

   21    directly to women, you know, patient-focused

   22    communications.

   23                        JUDGE HARZ:       Like, for example, if

   24    you don't know when a particular brochure was used,

   25    if you don't know when particular marketing material



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    1    was used, how do you ask questions about it at a

    2    deposition?

    3                        MR. SLATER:       You don't, Judge.    What

    4    you do is you guess.       And I can tell you in the MCL

    5    in front of you with Ethicon, all of this was done.

    6    We got all the charts.        Riker Danzig produced them

    7    all.    And it made that litigation, as Your Honor

    8    knows, seamless on this issue.            There was never a

    9    question.    We know when everything was in use and we

   10    don't ever have to come back and argue, and we don't

   11    have questions, we don't have open ended --

   12                        JUDGE HARZ:       How can they give it to

   13    you?    Who would you depose to get the information?

   14                        MR. SLATER:       I guess they'll have to

   15    put up a witness or witnesses, and they'll have to

   16    go through this -- we'll have to do somebody on the

   17    DFUs, somebody on the patient brochures, someone on

   18    the sales and marketing, and someone on the

   19    professional education.        That's probably the way it

   20    will have to happen because they don't want to just

   21    cooperate and give us the information.

   22                        MS. GEIST:       It's not a question of

   23    cooperation.    First of all, you're asking us to

   24    create work product.       We're not obligated to do

   25    that.    Second, in the DFUs, like the IFUs, there



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    1    typically is an effective or revision date.              We have

    2    found it to be very, very close to impossible to

    3    give any, you know, this was the beginning date and

    4    this was the end date when this communication piece

    5    was out.   And we discussed that complexity and

    6    challenge before, you and I, Adam.

    7                        MR. SLATER:       Right.    And I would say,

    8    Melissa, when we did this with Bard, you gave us --

    9    you gave me, when I asked for this, when I became

   10    liaison counsel for the Bard litigation in Bergen

   11    County, you got the DFU dates, I believe the patient

   12    brochure dates.       You -- I think you got me marketing

   13    dates.   And on professional education, Bard said,

   14    "We don't know," and that was it.              They didn't know.

   15    And then we knew that those can't be used against us

   16    by Bard where they would come in and say, Well, this

   17    was used with this doctor, now here's the date.               So

   18    at least everyone was on a level playing field.

   19                        MS. GEIST:       Right, which was very,

   20    very late.    It was very, very late in that

   21    litigation, pretrial.        So why don't we --

   22                        MR. SLATER:       No, it was actually --

   23    well, I don't want to argue with you.              Let's --

   24                        MS. GEIST:       Hold on.    We have an

   25    order from Judge Dickson relating to the marketing



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    1    and communication pieces.            Why don't we get that

    2    pushed out and get that produced to plaintiffs, and

    3    then we can meet and confer on what that looks like.

    4                        MR. SLATER:       Well, what this is going

    5    to do is it just pushes the ball so far down the

    6    road.

    7                        For example, when the documents come

    8    in to us and we start seeing emails -- make up a

    9    date -- January 1st, 2004, and someone says to

   10    someone, you know, we have a problem with XYZ.               We

   11    then need to be able to look at what were they

   12    telling doctors immediately after that, what were

   13    they saying in their marketing, what were they

   14    saying in the DFU.       We need to be able to match up

   15    and triangulate internal documents with what they

   16    were saying to the world.

   17                        And that's one of the -- not just --

   18    so we don't need just this information for the

   19    implanting doctors and learned intermediaries who

   20    were critical; we also have to be able to know the

   21    story.   What were they saying to the world and what

   22    did they know internally, and the only way to know

   23    that is by knowing the in use dates.

   24                        I find it hard to imagine the company

   25    doesn't know when things went into use because



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    1    that's something that is tracked very carefully by

    2    the marketing and sales people.

    3                        MS. GEIST:       No, it's typically not.

    4                        MR. SLATER:       If they don't know, they

    5    don't know.

    6                        MS. GEIST:       But I am going to

    7    apologize again.       I have to run a meeting at 1 p.m.

    8    We are way over our time.            Maybe we need to --

    9                        JUDGE HARZ:       I want to revisit this

   10    approval and in use dates, because if you can't

   11    agree, we'll just schedule a depositions around it.

   12    Okay?   But you talk, you figure out what you want to

   13    do, and we can --

   14                        When is our next meeting, Judge

   15    Dickson?

   16                        JUDGE DICKSON:       I don't think we have

   17    one scheduled.

   18                        JUDGE HARZ:       Okay.   And are we going

   19    to send out an order regarding these particular

   20    dates what we agreed to today for all counsel?

   21                        JUDGE DICKSON:       Oh, yeah.

   22                        JUDGE HARZ:       Okay.   And when would

   23    you like to meet again, so we can let Ms. Geist go.

   24                        MR. SLATER:       Your Honor, I was going

   25    to suggest that maybe we start to schedule the



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     1   hearings if a little shorter time frames and start

     2   to do this more often, just because then the issues

     3   will be fresh and we can get closure on the issues

     4   in a little bit more of a shorter turnaround, if

     5   that's okay with --

     6                       JUDGE HARZ:       Okay.   So today is

     7   September -- what's today?

     8                       MR. KELLY:       14th.

     9                       JUDGE HARZ:       14th.   Just not the

    10   first week in October, please.

    11                       MS. GEIST:       We have October 19

    12   scheduled for the next conference.

    13                       MR. SLATER:       What about September 30,

    14   Your Honor?

    15                       JUDGE DICKSON:       I can do September

    16   30th.

    17                       JUDGE HARZ:       I can do September 30.

    18                       MS. KWUON:       I'm traveling on the

    19   30th.

    20                       JUDGE HARZ:       Who is that?    I'm sorry.

    21                       MS. KWUON:       It's Janet Kwuon for

    22   Allergan.    I'm traveling on the 30th.

    23                       MR. SLATER:       We would be very

    24   concerned about pushing it beyond that, so --

    25                       JUDGE HARZ:       October 1st?



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     1                        MR. SLATER:       That's fine with me.

     2                        MS. GEIST:       I can't do it on October

     3   1st.    I'm sorry.

     4                        JUDGE HARZ:       Wednesday, the 29th?        I

     5   have another big thing in the morning.                 I could do

     6   it after 1:00.

     7                        MR. SLATER:       That's fine.

     8                        MS. KWUON:       I'm sorry.   The 29th and

     9   30th are both travel days for me.

    10                        JUDGE HARZ:       Okay.   How about the

    11   28th?

    12                        MR. KELLY:       I have a deposition that

    13   day, Your Honor.

    14                        MS. GEIST:       Can we do it after the

    15   deposition, Judge?        What about that first week in

    16   October.

    17                        JUDGE HARZ:       The first week in

    18   October, I'm away.

    19                        MR. SLATER:       Can we just do it on the

    20   30th?    I understand Janet is going to be traveling,

    21   but some of these issues we just need to be able to

    22   get closure from the perspective of everybody, I

    23   would think.        I'm just concerned about pushing it

    24   beyond that week.

    25                        MS. GEIST:       I think you realize that



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     1   Janet is our main contact person on all things

     2   discovery.

     3                       MS. KWUON:       Sorry for everybody else.

     4                       MR. KELLY:       Have we proposed the 27th

     5   yet?

     6                       MR. SLATER:       That's fine.

     7                       MR. KELLY:       I realize it's less than

     8   two weeks, but it's better than waiting a month.

     9                       JUDGE HARZ:       I'm okay the 27th.

    10                       JUDGE DICKSON:       I'm good.

    11                       JUDGE HARZ:       Okay.   What time?

    12                       MS. KWUON:       Can we do it again at

    13   11:00 Eastern?

    14                       JUDGE HARZ:       11:00 Eastern.

    15                       JUDGE DICKSON:       Okay.

    16                       MS. LENZE:       Your Honors, we just have

    17   one other issue on the agenda today, and

    18   understanding Allergan's response from September

    19   10th indicated with respect to the RFPs --

    20                       MR. SLATER:       Jen, can I just

    21   interrupt you one second.

    22                       MS. LENZE:       Yeah, sure.

    23                       MR. SLATER:       I apologize.    I have a

    24   deposition of an expert to take in four minutes.

    25   Can I be excused?



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     1                       JUDGE DICKSON:        Ms. Geist has to go.

     2                       Ms. Geist, can you make somebody else

     3   the host?

     4                       MS. GEIST:       I don't know, Judge.       If

     5   I hit end, I don't know.

     6                       MS. LENZE:       And all I was going to

     7   ask was just for a date certain that Allergan

     8   supplements, that's it, in 30 seconds.

     9                       MS. KWUON:       I can't give you a date

    10   like on the spot, but I'll get back to you today.

    11                       MS. LENZE:       Okay.

    12                       MS. KWUON:       I think then we're done.

    13                       JUDGE HARZ:       Thank you, everybody.

    14   Okay.   Bye.

    15                               -   -     -

    16             (Conference adjourned at 12:57 p.m.)

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     1                       C E R T I F I C A T I O N

     2

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                                      - Roger    09/18/24
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     1                  UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY
     2                  CASE NO. 2:19-MD-02921 (BRM)(ESK)
     3                              -   -   -
     4
     5    IN RE:   ALLERGAN BIOCELL TEXTURED           :
          BREAST IMPLANT PRODUCTS LIABILITY            :
     6    LITIGATION                                   :
                                                       :   MDL NO. 2921
     7    -----------------------------------          :
                                                       :
     8    This Document Relates To:                    : CONFIDENTIAL
          All Cases                                    :
     9
    10                              -   -   -
                               SEPTEMBER 28, 2021
    11                              -   -   -
    12
    13                          TRANSCRIPT of the videotaped
    14    30(b)(6) deposition testimony of ROGER A. HUFF, held
    15    remotely via Zoom on the above-referenced date and
    16    commencing at 9:01 a.m. PST, as stenographically
    17    reported by Constance E. Perks, CRR, CCR, CRC, RSA,
    18    a Federally-Approved Certified Realtime Reporter and
    19    Notary Public, NJ CCR License #300XI0142900.
    20
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    22
    23
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    24             GOLKOW LITIGATION TECHNOLOGIES, LLC
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    25                         deps@golkow.com



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     1             relevant ESI sources.

     2    BY MR. KELLY:

     3             Q.      And I'm going to list them and

     4    make sure that you understand that you're here

     5    to speak about them today.

     6                     Does that make sense, Mr. Huff?

     7                     MS. KWUON:     Can I ask to see the

     8             document all the way through, and then

     9             the date on it?

    10                     MR. KELLY:     Sure.

    11                     And it keeps going into the --

    12             there's an attachment of the original

    13             30(b)(6) notice.

    14                     MS. KWUON:     And can we go off

    15             the record for just a second?

    16                     MR. KELLY:     We have a pending

    17             question, actually.

    18                     MS. KWUON:     Oh.    What's the

    19             pending question?      Sorry.

    20    BY MR. KELLY:

    21             Q.      Do you understand that you

    22    are -- I can phrase it again.         Sorry.

    23                     I'm going to list the four

    24    potentially relevant ESI sources that are

    25    within the scope of your deposition.           Those



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     1    are Box, voicemail, SharePoint, and Skype.

     2                     Is that your understanding of

     3    the scope of this deposition?

     4             A.      Yes.

     5             Q.      Thank you.

     6                     MS. KWUON:     Okay.   Thanks, Max.

     7                     And can we go off the record for

     8             a second?

     9                     MR. KELLY:     Sure.

    10                     THE VIDEOGRAPHER:      The time is

    11             9:18.   We are off the record.

    12                     (A recess was taken.)

    13                     THE VIDEOGRAPHER:      The time is

    14             9:22.   We are back on the record.

    15    BY MR. KELLY:

    16             Q.      So just before the break, we

    17    clarified that the four data sources at issue

    18    in this deposition are Box, SharePoint,

    19    voicemail, and Skype.      Is that right?

    20             A.      That's correct.

    21             Q.      And you have been designated

    22    today as a corporate representative to give

    23    testimony on behalf of the company.

    24                     Do you know what that means?

    25             A.      I believe so.



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     1             privileged information.

     2                     But you can answer beyond that.

     3                     THE WITNESS:     No.

     4    BY MR. KELLY:

     5             Q.      So you -- you don't know what

     6    steps, if any, Allergan took to preserve

     7    documents relevant to this litigation?

     8             A.      That's correct.      I do not.

     9             Q.      Okay.    Are you aware of the

    10    settings or policies with regard to any of the

    11    four data sources we're here to talk about

    12    today - that's Box, SharePoint, voicemail, and

    13    Skype - are you aware of policies or settings

    14    changing for any of those four sources in

    15    connection with the litigation hold?

    16                     MS. KWUON:     Objection as to

    17             form; compound, vague and ambiguous,

    18             lacks foundation.

    19                     But you can answer the question.

    20                     THE WITNESS:     If you could help

    21             me with understanding the two parts.

    22             Am I aware of policies, or am I aware

    23             of settings being changed?

    24    BY MR. KELLY:

    25             Q.      Its only the latter.       Let



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     1                  UNITED STATES DISTRICT COURT
     2                  DISTRICT OF NEW JERSEY
                        CASE NO. 2:19-MD-02921 (BRM)(ESK)
     3
                                    -   -   -
     4
     5    IN RE:   ALLERGAN BIOCELL TEXTURED           :
          BREAST IMPLANT PRODUCTS LIABILITY            :
     6    LITIGATION                                   :
                                                       :   MDL NO. 2921
     7    -----------------------------------          :
                                                       :
     8    This Document Relates To:                    : CONFIDENTIAL
          All Cases                                    :
     9
    10                              -   -   -
                               SEPTEMBER 28, 2021
    11                              -   -   -
    12
    13                          TRANSCRIPT of the videotaped
    14    30(b)(6) deposition testimony of VICTOR HUYNH, held
    15    remotely via Zoom on the above-referenced date and
    16    commencing at 1:08 p.m. PST, as stenographically
    17    reported by Constance E. Perks, CRR, CCR, CRC, RSA,
    18    a Federally-Approved Certified Realtime Reporter and
    19    Notary Public, NJ CCR License #300XI0142900.
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     1             that adverse incident reports,

     2             investigation, or reporting.

     3                     So you have our designation of

     4             what the witness is going to cover.

     5                     MR. BUCHANAN:     Yeah, and I

     6             thought it was co-extensive with topic

     7             1 and subcategory of b.       Is there

     8             something you're carving out there,

     9             because I believe we're limited on

    10             technical topics here.

    11                     MR. COHEN:     Yeah, so it

    12             certainly -- it -- what he's going to

    13             testify to is certainly part of what's

    14             in 1.b., but he is testifying with

    15             regard to a particular database, and

    16             that's not to say that's the only

    17             document out there that has to do with

    18             adverse incidents, investigations, or

    19             reporting.

    20                     But reporting in that particular

    21             database is what he's designated for.

    22                     MR. BUCHANAN:     Fair enough.     So

    23             you're scoping -- just so we're on the

    24             same page, you're scoping and limiting

    25             him specifically to TrackWise,



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     1             correct?

     2                     MR. COHEN:     Correct.

     3                     MR. BUCHANAN:     Okay.    But no

     4             other concern with regard to the

     5             topics and the introductory paragraph

     6             of 1?

     7                     MR. COHEN:     No other objection.

     8                     MR. BUCHANAN:     That's fine.

     9             Thank you.

    10    BY MR. BUCHANAN:

    11             Q.      Moving on to 2, sir:       "The

    12    Allergan Defendants' information files,

    13    including currently maintained computer files,

    14    as well as historical, archival, back-up, and

    15    legacy computer files, whether in current or

    16    historic media or formats, such as digital

    17    evidence that may be used to support claims or

    18    defenses."

    19                     Do you see that, sir?

    20             A.      I do, yeah.

    21             Q.      Are you prepared to testify with

    22    regard to that topic as it relates to

    23    TrackWise?

    24                     MR. COHEN:     I'm going to --

    25                     THE WITNESS:     I --



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